APPENDIX D
                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


WSOU INVESTMENTS, LLC d/b/a BRAZOS
LICENSING AND DEVELOPMENT,                       Case No. 6:20-cv-00477-ADA

              Plaintiff,
                                                 JURY TRIAL DEMANDED
     v.

DELL TECHNOLOGIES INC., DELL INC.,
AND EMC CORPORATION,

              Defendants.


LETTER OF REQUEST: REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
PURSUANT TO THE HAGUE CONVENTION OF 18 MARCH 1970 ON THE TAKING
      OF EVIDENCE ABROAD IN CIVIL OR COMMERCIAL MATTERS

GREETINGS:

                                   The Honorable Judge Alan D Albright, District Judge
1.   Sender
                                   United States District Court for the Western District
                                   of Texas, Waco Division
                                   800 Franklin Avenue Room 301
                                   Waco, Texas 76701
                                   USA

                                   Ministère de la Justice
2.   Central Authority of the
                                   Direction des Affaires Civiles et du Sceau
     Requested State
                                   Bureau du droit de l'Union, du droit international
                                   privé et de l'entraide civile (BDIP)
                                   13, Place Vendôme
                                   75042 Paris Cedex 01
                                   France

3.   Person to whom the executed   This Court; representatives of the parties as indicated
     request is to be returned     below; the witnesses from whom evidence is
                                   requested as indicated below; such other person(s)
                                   that you deem proper; and Defendants’ representative
                                   in France:
                                       Eric Bouffard
                                       Gibson, Dunn & Crutcher LLP



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                                              16 avenue Matignon
                                              75008 Paris
                                              France
                                              Tel: +33 (0) 1 56 43 13 00 | Fax: +33 (0)1 56 43
                                              13 33
                                              Email: EBouffard@gibsondunn.com

 4.    Specification of the date by       June 1, 2021
       which the requesting authority
       requires receipt of the response
       to the Letter of Request


       In conformity with Article 3 of the Hague Convention on the Taking of Evidence Abroad

in Civil or Commercial Matters (“Hague Convention”), Federal Rule of Civil Procedure 28(b), and

28 U.S.C.A. 1781(b), the undersigned authority respectfully has the honor to submit the following

request:


 5.   a. Requesting Judicial              The Honorable Judge Alan D Albright, District Judge
      Authority (Article 3, a)            United States District Court for the Western District
                                          of Texas, Waco Division
                                          800 Franklin Avenue Room 301
                                          Waco, Texas 76701
                                          USA


      b. To the competent Authority       France
      of (Article 3, a)


      c. Names of the case and any        WSOU Investments LLC v. Dell Technologies Inc.
      identifying number                  Case No. 6:20-cv-00477-ADA, United States District
                                          Court for the Western District of Texas


 6.   Names and addresses of the parties and their representative (including representatives in
      the requested State) (Article 3, b)


      a. Plaintiffs                       WSOU Investments LLC




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Representatives   WSOU is represented by:

                      Brett Aaron Mangrum
                      Etheridge Law Group
                      2600 East Southlake Blvd., Suite 120-324
                      Southlake, TX 76092
                      469-401-2659
                      Fax: 817-887-5950
                      Email: brett@etheridgelaw.com

                      Jeffrey Huang
                      Etheridge Law Group PLLC
                      2600 East Southlake Blvd
                      Suite 120-324
                      Southlake, TX 76092
                      408-797-9059
                      Fax: 817-887-5950
                      Email: jhuang@etheridgelaw.com

                      Ryan Scott Loveless
                      Etheridge Law Group PLLC
                      2600 E Southlake Blvd
                      Suite 120-324
                      Southlake, TX 76092
                      972-292-8303
                      Fax: 817-887-5950
                      Email: ryan@etheridgelaw.com

                      James L. Etheridge
                      Etheridge Law Group, PLLC
                      2600 E. Southlake Blvd., Suite 120-324
                      Southlake, TX 76092
                      817-470-7249
                      Fax: 817-887-5950
                      Email: jim@etheridgelaw.com


b. Defendants     Dell Technologies Inc., Dell Inc., and EMC
                  Corporation (collectively “Defendants”)


Representatives   Dell Technologies Inc., Dell Inc., and EMC
                  Corporation are represented by:

                  Shelton Coburn LLP:




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                                           Barry K. Shelton
                                           Shelton Coburn LLP
                                           311 RR 620 S
                                           Suite 205
                                           Austin, TX 78734-4775
                                           512-263-2165
                                           Fax: 512-263-2166
                                           Email: bshelton@sheltoncoburn.com

                                     The Defendant has appointed legal counsel in France
                                     to pursue and assist with the commission to take
                                     evidence. The details of the Defendant’s legal counsel
                                     in France are:

                                     Eric Bouffard
                                     Gibson, Dunn & Crutcher LLP
                                     16 avenue Matignon
                                     75008 Paris
                                     France
                                     Tel: +33 (0) 1 56 43 13 00 | Fax: +33 (0)1 56 43 13 33
                                     Email: EBouffard@gibsondunn.com

     c. Other parties                N/A


     Representatives                 N/A


7.   a. Nature of the proceedings Civil action alleging patent infringement under the
     (divorce, paternity, breach of patent laws of the United States.
     contract, product liability, etc.)
     (Article 3, c)


     b. Summary of complaint         Discovery sought in this Letter of Request is relevant
                                     in Case No. 6:20-cv-00477-ADA: In WSOU’s
                                     complaint against Defendants, WSOU alleges that
                                     Defendants infringe U.S. Patent No. 8,913,489 (“the
                                     ’489 patent”).


     c. Summary of defense and In defense against WSOU’s claims of patent
     counterclaim              infringement of the ’489 patent, Defendants assert,
                               inter alia, that they do not infringe any of claims of the
                               ’489 patent and that the ’489 patent is invalid.




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                                      Alcatel-Lucent International has knowledge of the facts
                                      relevant to Defendants’ defenses. Alcatel-Lucent
                                      International is relevant to the action by virtue of being
                                      a former assignee of the ’489 patent. Alcatel-Lucent
                                      International holds critical facts to this case, including
                                      facts relevant to a number of defenses raised by
                                      Defendants and any potential damages, including
                                      information related to the prosecution of the ’489
                                      patent; prior uses and/or sales or products and services
                                      incorporating the ’489 patent, publications related to
                                      the concepts claimed in the ’489 patent;
                                      commercialization, production and/or commercial
                                      embodiments related to the ’489 patent; the state of the
                                      art at the time of the alleged invention and/or filing of
                                      the applications related to the ’489 patent; the
                                      ownership and financial interests in the ’489 patent;
                                      conception, diligence and/or reduction to practice of
                                      the concepts claimed in the ’489 patent; and the
                                      disclosure of the claimed invention of the asserted
                                      patent. As well as licensing of and/or agreements
                                      covering the ’489 patent. And, financial knowledge
                                      including valuation and royalties associated with the
                                      ’489 patent or any license and/or agreement covering
                                      the ’489 patent; and other financial interests (including
                                      revenue, costs, expenses and profits) as well as
                                      financial interests and information related to the ’489
                                      patent.


     d. Other necessary information Alcatel-Lucent International’s current address is:
     or documents                   Route de Villejust
                                    Nokia Paris Saclay
                                    Nozay, 91620
                                    France

8.   a. Evidence to be obtained or In order to present its defenses that the ’489 patent is
     other judicial act to be not infringed, invalid, and unenforceable and to
     performed (Article 3d),       determine any alleged damages, Defendants seek
                                   certain documents from Alcatel-Lucent International.
                                   Attached as Exhibit D1 is a request of production of
                                   certain documents that Defendants believe are likely to
                                   be in the possession, custody, or control of Alcatel-
                                   Lucent International.




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                                      To further clarify the evidence sought, attached as
                                      Exhibit D2 is an outline of the topics and issues about
                                      which counsel for Defendants intend to inquire of
                                      Alcatel-Lucent International.


     b. Purpose of the evidence or With respect to the ’489 patent, Alcatel-Lucent
                                   International has information and knowledge relating
     judicial act sought
                                   to the prosecution of the ’489 patent; prior uses and/or
                                   sales or products and services incorporating the ’489
                                   patent, publications related to the concepts claimed in
                                   the ’489 patent; commercialization, production and/or
                                   commercial embodiments related to the ’489 patent;
                                   the state of the art at the time of the alleged invention
                                   and/or filing of the applications related to the ’489
                                   patent; the ownership and financial interests in the
                                   ’489 patent; conception, diligence and/or reduction to
                                   practice of the concepts claimed in the ’489 patent;
                                   and the disclosure of the claimed invention of the
                                   asserted patent. As well as licensing of and/or
                                   agreements covering the ’489 patent. And, financial
                                   knowledge including valuation and royalties
                                   associated with the ’489 patent or any license and/or
                                   agreement covering the ’489 patent; and other
                                   financial interests (including revenue, costs, expenses
                                   and profits) as well as financial interests and
                                   information related to the ’489 patent.

                                      This evidence is directly relevant to Defendants’ claims
                                      that the ’489 patent is not infringed, invalid, and
                                      unenforceable and to determine any alleged damages
                                      under United States patent law.


9.   Identity and address of any Alcatel-Lucent International
     person to be examined (Article Route de Villejust
     3, e)                          Nokia Paris Saclay
                                    Nozay, 91620
                                    France

10. Questions to be put to the See Exhibit D2
    persons to be examined or
    statement of the subject matter
    about which they are to be
    examined (Article 3, f)




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11. Documents or other property to See Exhibit D1
    be inspected (Article 3, g)


12. Any requirement that the We respectfully request that the testimony be taken
    evidence be given on oath or under oath.
    affirmation and any special form
    to be used (Article 3, h)


13. Special methods or procedure to    This Court respectfully requests that Alcatel-Lucent
    be followed (e.g. oral or in       International be directed to produce the documents
    writing, verbatim, transcript or   identified in attached Exhibit D1.
    summary, cross-examination,
    etc.) (Article 3, i) and 9)        This Court respectfully requests that the Central
                                       Authority direct a representative of Alcatel-Lucent
                                       International to appear on or before June 1, 2021.

                                       This Court respectfully requests that attorneys of the
                                       Defendant be permitted to examine and cross-examine
                                       a representative of Alcatel-Lucent International, and
                                       that the witness be directed to answer such questions,
                                       relating to matters outlined in attached Exhibit D2.

                                       This Court respectfully requests that the examination
                                       be permitted to be conducted in accordance with the
                                       Federal Rules of Evidence and the Federal Rules of
                                       Civil Procedure to prevail in the event of a conflict.

                                       This Court respectfully requests that the examination
                                       be (partially) conducted via video conference to allow
                                       U.S. counsel to join the hearing.

                                       This Court respectfully requests that the testimony be
                                       video recorded and also transcribed verbatim.

                                       This Court respectfully requests that the testimony be
                                       taken in English language if the examined person(s)
                                       agree, and that, if need be, simultaneous translation be
                                       provided.

                                       Costs incurred in relation to the deposition examination
                                       (court reporter, video recorder, simultaneous
                                       translation) shall be at Defendants’ expense.




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14. Request for notification of the    This Court respectfully requests that you notify this
    time and place for the execution   Court; the representatives of the parties as indicated
    of the Request and identity and    above; the witness from whom evidence is requested as
    address of any person to be        indicated above; and such other person(s) that you
    notified (Article 7)               deem proper.


15. Request for attendance or No judicial personnel of the requesting authority will
    participation     of     judicial attend or participate.
    personnel of the requesting
    authority at the execution of the
    Letter of Request (Article 8)


16. Specification of privilege or Defendants believe that Alcatel-Lucent International
    duty to refuse to give evidence does not benefit from any privilege, and does not
    under the law of the State of endorse the assertion of any such privilege or duty.
    origin (Article 11, b)


17. The fees and costs incurred will Defendants will bear the reimbursable costs associated
    be borne by                      with this request in accordance with the provisions of
                                     the Hague Convention.


     So ORDERED and SIGNED this ____ day of ______________, 2020.




                                                  The Honorable Alan D Albright
                                                  U.S. District Court Judge




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EXHIBIT D1
                                 DOCUMENTS REQUESTED

        Defendants Dell Technologies Inc., Dell Inc., and EMC Corporation (collectively,

 “Defendants”) request the production of the documents described below.

                                         DEFINITIONS

        The following definitions are applicable to terms employed in responding to this request:

1.     “Accused Product” or “Accused Products” shall refer to any device, product, or other thing

       that Plaintiff is permitted to accuse of infringing the Asserted Patent in this Action. A copy

       of the Complaint in case number 6:20-cv-00477-ADA is attached as Exhibit D3. In

       referring to any device, product, or other thing as an “Accused Product,” Defendants in no

       way communicate their agreement that it infringes the Asserted Patent.

2.     “Action” shall refer to the above-captioned proceeding in the United States District Court

       for the Western District of Texas, with case number 6:20-cv-00477-ADA.

3.     “Asserted Claim” shall refer to each claim of the Asserted Patent that Plaintiff contends

       Defendants infringe.

4.     “Asserted Patent” shall refer to U.S. Patent No. 8,913,489 and any patent applications

       related thereto.

5.     “Communication” shall mean, without limitation, any written, oral, or other transmission

       of information, including but not limited to emails.

6.     “Complaint” shall refer to the Complaint (including exhibits) that Plaintiff filed on June 2,

       2020 as docket number 1 in this Action, as may be amended.

7.     “Concerning,” “refer(s) to,” “related to,” “reflecting,” and “relating to” shall mean directly

       or indirectly relating to, referring to, mentioning, reflecting, pertaining to, evidencing,

       illustrating, involving, describing, discussing, commenting on, embodying, responding to,



                                                 2
      supporting, contradicting, or constituting (in whole or in part), as the context makes

      appropriate.

8.    “Defendants” or “Defendant” shall refer to Dell Technologies Inc., Dell Inc., and EMC

      Corporation, and any and all of their then-current or prior subsidiaries, parents, affiliates,

      divisions, successors, predecessors, agents, employees, representatives, directors, officers,

      trustees, and attorneys, or any other person or entity acting in whole or in part in concert

      with any of the foregoing, directly or indirectly.

9.    “Document” shall include, without limitation, all documents, electronically stored

      information, and tangible things within the scope of the Federal Rules of Civil Procedure,

      including Rule 34. Federal Rules of Civil Procedure 34 permits discovery of: “(A)

      documents or electronically stored information—including writings, drawings, graphs,

      charts, photographs, sound recordings, images, and other data or data compilations—stored

      in any medium from which information can be obtained either directly or, if necessary,

      after translation by the responding party into a reasonably usable form; or (B) any

      designated tangible things.”

10.   “Employee” shall refer to any officer, director, partner, employee, representative, or agent.

11.   “Licensee(s)” shall refer to any entity having a license, assignment, covenant not to sue, or

      other understanding, written, oral or implied, that the entity has any rights to the Asserted

      Patent, any Related Patents, or any Related Applications, may practice one or more claims

      of the Asserted Patent and/or that Plaintiff will not file suit or otherwise enforce against

      that entity one or more claims of the Asserted Patent or any Related Patent or Related

      Application.




                                                3
12.   “Named Inventor” shall refer to any individual who is listed as an inventor on the Asserted

      Patent or any Related Patent or Related Application thereof.

13.   “Person” shall refer to any natural person, firm, association, partnership, government

      agency, corporation, proprietorship, or other entity and its officers, directors, partners,

      employee, representatives, and agents.

14.   The terms “Plaintiff,” and/or “WSOU” shall refer to the responding Plaintiff WSOU

      Investments, LLC d/b/a Brazos Licensing and Development, and any and all of its then-

      current or prior subsidiaries, parents, affiliates, divisions, successors, predecessors, agents,

      employees, representatives, directors, officers, trustees, and attorneys, or any other person

      or entity acting in whole or in part in concert with any of the foregoing, directly or

      indirectly.

15.   “Prior Art” encompasses, without limitation, the subject matter described in each and every

      subdivision of 35 U.S.C. §§ 102 and 103, and includes, but is not limited to, memoranda,

      notes, manuals, interviews, testing data, disclosures, prototypes, correspondence,

      drawings, papers, articles, patents, printed publications, public uses, demonstrations, offers

      for sale or license, and sales.

16.   “Related Application(s)” means any and all applications related to the Asserted Patent,

      including any provisional or non-provisional applications, continuations, continuations- in-

      part, divisions, interferences, reexaminations, re-issues, parents, foreign counterpart

      applications, and any other applications disclosing, describing or claiming any invention

      disclosed, described or claimed in the Asserted Patent, or claiming the benefit of the filing

      date of any application whose benefit is claimed in the Asserted Patent, whether or not

      abandoned and whether or not issued.




                                                 4
17.   “Related Patent(s)” means any and all U.S. or foreign patents based upon or related to any

      Related Application(s) or Asserted Patent, including any patents or applications that may

      have been opposed, reexamined, re-issued or subjected to any validity or nullity

      proceeding.

18.   “Third Party” shall refer to any person other than Plaintiff or Defendants.

19.   “You,” “Your,” “Yours” shall refer to Alcatel-Lucent International, and any and all of its

      then-current or prior subsidiaries, parents, affiliates, divisions, successors, predecessors,

      agents, employees, representatives, directors, officers, trustees, and attorneys, or any other

      person or entity acting in whole or in part in concert with any of the foregoing, directly or

      indirectly.

20.   “Product(s)” means a machine, manufacture, apparatus, device, instrument, mechanism,

      appliance, software, service, process, or an assemblage of components/parts (either

      individually or collectively) that are designed to function together electronically,

      mechanically, or otherwise, including any offered for sale or under development.

21.   Any pronouns shall be construed to refer to the masculine, feminine, or neutral gender, in

      singular or plural, as in each case is most appropriate.

22.   The singular form of any word shall be construed to also include the plural, and vice-versa.

23.   The word “each” shall be construed to mean “each and every.”

24.   The words “and” and “or” shall be construed conjunctively or disjunctively, whichever

      makes the request more inclusive.

25.   The words “any” and “all” shall be construed to mean “any and all.”

                                       INSTRUCTIONS

1.    In responding to the document requests set forth below, please furnish all responsive and

      non-privileged information that is available to You.


                                                5
2.      If production of any responsive Documents are being withheld on the ground of the

        attorney-client privilege, attorney work product, or any other privilege, immunity, or

        protection, please provide a privilege log with the following information for each such

        Document: (a) the name of the Document; (b) the name of the person(s) who prepared the

        Document; (c) the name of the person(s) to whom the Document was directed or circulated;

        (d) the date(s) on which the Document was prepared or transmitted; (e) the name of the

        person(s) now in possession of the Document; (f) a description of the subject matter of the

        Document; and (g) the specific nature of the privilege or protection claimed with respect

        to the Document.

3.      The Court’s interim protective order in the Order Governing Proceedings entered in this

        manner shall govern the disclosure of confidential information in this Action. See Exhibit

        D4 at pp. 3–4.

4.      Upon entry of a final protective order in this manner that protective order shall govern the

        disclosure of confidential information in this Action.

                                   DOCUMENT REQUESTS

        1.      Documents and Communications concerning the preparation, filing, or

prosecution of any of the patent applications related to the Asserted Patent. 1 This includes, but

is not limited to:

                 a.      A complete copy of the prosecution history and prosecution files for the



 1
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as prosecution history estoppel, non-infringement, invalidity (including
     obviousness, secondary considerations regarding obviousness, anticipation, patent-eligibility,
     written description, indefiniteness, and enablement), and inequitable conduct. Such materials
     will also be relevant to defenses relating to damages, including the availability of non-
     infringing alternatives.


                                                 6
                         Asserted Patent;

                 b.      Drafts of the patent applications, drawings, and documents in the

                         possession, custody, or control of You or any attorney or agent involved

                         in the prosecution of the Asserted Patent, except to the extent these

                         documents are entitled to attorney-client privilege or work product

                         protection;

                 c.      Patents, patent applications, or other publications reviewed in connection

                         with the prosecution by anyone who participated in the prosecution of the

                         Asserted Patent;

                 d.      Prior Art cited or considered in connection with the prosecution of the

                         Asserted Patent;

                 e.      Memoranda and Communications regarding the prosecution of the

                         Asserted Patent; and

                 f.      Documents referring or relating to or evidencing any decision by You, on

                         Your behalf, or that you are aware of regarding what documents

                         (including without limitation patents or printed publications) to cite

                         during prosecution of the Asserted Patent.

        2.      Documents and Communications concerning the preparation, filing, or

prosecution of any of the patent applications related to Related Patents and Related Applications. 2


 2
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as prosecution history estoppel, non-infringement, invalidity (including
     obviousness, secondary considerations regarding obviousness, anticipation, patent-eligibility,
     written description, indefiniteness, and enablement), and inequitable conduct. Such materials
     will also be relevant to defenses relating to damages, including the availability of non-
     infringing alternatives.


                                                 7
This includes, but is not limited to:

                 a.      A complete copy of the prosecution histories and prosecution files for

                         any Related Patents and Related Applications;

                 b.      Drafts of patent applications, drawings, and documents in the possession,

                         custody, or control of You or any attorney or agent involved in the

                         prosecution of any Related Patents or Related Applications, except to the

                         extent these documents are entitled to attorney-client privilege or work

                         product protection;

                 c.      Patents, patent applications, or other publications reviewed in connection

                         with the prosecution by anyone who participated in the prosecution of

                         any Related Patents or Related Applications;

                 d.      Prior Art cited or considered in connection with the prosecution of any

                         Related Patents or Related Applications;

                 e.      Memoranda and Communications regarding the prosecution of any

                         Related Patents or Related Applications; and

                 f.      Documents referring or relating to or evidencing any decision by You, on

                         Your behalf, or that you are aware of regarding what documents

                         (including without limitation patents or printed publications) to cite

                         during prosecution of any Related Patents or Related Applications.

       3.      Documents and Communications related to each effort by You, on Your behalf,

or that you are aware of to obtain patent protection, in the United States or in the countries

designated in the PCT application for the Asserted Patent, for the subject matter described and/or

claimed in the Asserted Patent, covering the period from August 4, 2010 through the last action


                                                 8
taken by or on behalf of the inventor or any assignee in connection with the prosecution of the

Asserted Patent or any Related Patent or Related Application. 3

        4.      Communications, studies, comparisons, reports, surveys, evaluations, opinions, or

memorandums regarding the conception of the subject matter described and/or claimed in the

Asserted Patent, prior to August 4, 2010. 4

        5.      Communications, studies, comparisons, reports, surveys, evaluations, opinions, or

memorandums regarding the testing, design, and development of the subject matter described

and/or claimed in the Asserted Patent, from August 4, 2010 to the last action taken by or on behalf

of the inventor or any assignee in connection with the prosecution of the Asserted Patent or any

Related Patent or Related Application. 5

        6.      Communications, studies, comparisons, reports, surveys, evaluations, opinions, or

memorandums regarding the reduction to practice of the subject matter described and/or claimed

in the Asserted Patent, from August 4, 2010 to the last action taken by or on behalf of the inventor

or any assignee in connection with the prosecution of the Asserted Patent or any Related Patent




 3
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement, and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement).
 4
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to defenses, such as
     improper inventorship, derivation, and inequitable conduct.
 5
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to defenses, such as
     improper inventorship, derivation, and inequitable conduct.


                                                 9
or Related Application. 6

        7.      Statements, articles, abstracts, publications, and Product literature made by, or

under the direction of, any of the Named Inventors concerning the subject matter described and/or

claimed in the Asserted Patent, from August 4, 2010 to the last action taken by or on behalf of

the inventor or any assignee in connection with the prosecution of the Asserted Patent or any

Related Patent or Related Application. 7

        8.      Laboratory notebooks, technical memoranda, technical files, diaries, appointment

calendars, and trip reports, in complete unredacted form, of the Named Inventors, or made under

the direction of the Named Inventors, concerning the subject matter described and/or claimed in

the Asserted Patent, from August 4, 2010 to the last action taken by or on behalf of the inventor

or any assignee in connection with the prosecution of the Asserted Patent or any Related Patent

or Related Application. 8

        9.      Documents sufficient to identify any Person (whether or not named as an inventor)

involved in the conception, research, testing, design, development, and reduction to practice of

any element of any of the inventions described and/or claimed in the Asserted Patent, and to


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     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to defenses, such as
     improper inventorship, derivation, and inequitable conduct.
 7
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to defenses, such as
     improper inventorship, derivation, and inequitable conduct.
 8
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to defenses, such as
     improper inventorship, derivation, and inequitable conduct.


                                                 10
understand their role, from August 4, 2010 to the last action taken by or on behalf of the inventor

or any assignee in connection with the prosecution of the Asserted Patent or any Related Patent

or Related Application. 9

        10.     Communications, studies, comparisons, reports, surveys, evaluations, opinions, or

memorandums regarding the conception of the subject matter described and/or claimed in Related

Patents or Related Applications, prior to August 4, 2010. 10

        11.     Communications, studies, comparisons, reports, surveys, evaluations, opinions, or

memorandums regarding the testing, design, and development of the subject matter described

and/or claimed in Related Patents or Related Applications, from August 4, 2010 to the last action

taken by or on behalf of the inventor or any assignee in connection with the prosecution of the

Asserted Patent or any Related Patent or Related Application. 11

        12.     Communications, studies, comparisons, reports, surveys, evaluations, opinions, or

memorandums regarding the reduction to practice of the subject matter described and/or claimed

in Related Patents or Related Applications, from August 4, 2010 to the last action taken by or on

behalf of the inventor or any assignee in connection with the prosecution of the Asserted Patent


 9
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to defenses, such as
     improper inventorship, derivation, and inequitable conduct.
10
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to defenses, such as
     improper inventorship, derivation, and inequitable conduct.
11
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to defenses, such as
     improper inventorship, derivation, and inequitable conduct.


                                                 11
or any Related Patent or Related Application. 12

        13.     Statements, articles, abstracts, publications, and Product literature made by, or

under the direction of, any of the Named Inventors concerning the subject matter described and/or

claimed in Related Patents or Related Applications, from August 4, 2010 to the last action taken

by or on behalf of the inventor or any assignee in connection with the prosecution of the Asserted

Patent or any Related Patent or Related Application. 13

        14.     Laboratory notebooks, technical memoranda, technical files, diaries, appointment

calendars, and trip reports, in complete unredacted form, of the Named Inventors, or made under

the direction of the Named Inventors, concerning the subject matter described and/or claimed in

Related Patents or Related Applications, from August 4, 2010 to the last action taken by or on

behalf of the inventor or any assignee in connection with the prosecution of the Asserted Patent

or any Related Patent or Related Application. 14

        15.     Communications, studies, comparisons, reports, surveys, evaluations, opinions, or

memorandums that concern or show the structure, functions, or operation of, or that constitute

embodiments of, any invention disclosed or claimed in the Asserted Patent, regardless of whether


12
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to defenses, such as
     improper inventorship, derivation, and inequitable conduct.
13
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to defenses, such as
     improper inventorship, derivation, and inequitable conduct.
14
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to defenses, such as
     improper inventorship, derivation, and inequitable conduct.


                                                   12
such embodiment was commercialized, and regardless of whether or not it worked properly, from

August 4, 2010 to the present. 15

        16.     Documents and Communications relating to Your assignment policies with

inventors applicable to the invention described and/or claimed in the Asserted Patent. 16 This

includes but is not limited to:

                 a.      Assignment agreements with the inventors of the inventions described

                         and/or claimed in the Asserted Patent;

                 b.      Cost-sharing or profit-sharing agreements with the inventors of the

                         inventions described and/or claimed in the Asserted Patent; and

                 c.      Remuneration agreements with inventors of the inventions described

                         and/or claimed in the Asserted Patent.

        17.     Communications, studies, comparisons, reports, surveys, evaluations, opinions, or

memorandums concerning any of the following activities with regard to the subject matter

described and/or claimed in the Asserted Patent:




15
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement, and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to defenses relating to
     damages, including the availability of non-infringing alternatives and failure to mark.
16
     Such materials will be relevant to issue regarding Plaintiffs standing to bring the current suit
     and joinder of the proper parties. Such materials will also be relevant to quantifying any
     alleged damages pursuant the Georgia-Pacific factors, which require consideration of the:
     “established profitability of the product made under the patent”; “the character of the
     commercial embodiment of it as owned and produced by the licensor”; and “portion of the
     realizable profit that should be credited to the invention”; among others things. Georgia-
     Pacific Corp. v. United States Plywood Corp., 318 F. Supp. 1116, 1119–20 (S.D.N.Y. 1970).
     Courts in the United States consider these Georgia-Pacific factors when determining a
     reasonable royalty for patent infringement damages. See, e.g., Lucent Technologies, Inc. v.
     Gateway, Inc., 580 F. 3d 1301, 1324–37 (Fed. Cir. 2009).


                                                  13
                 a.     First written description and/or drawing of such subject matter;

                 b.     First publication of such subject matter;

                 c.     First promotion of such subject matter;

                 d.     First advertisement of such subject matter;

                 e.     First offer for sale of such subject matter;

                 f.     First sale of such subject matter;

                 g.     First public disclosure of such subject matter;

                 h.     First public use of such subject matter;

                 i.     Experimental uses or alleged experimental uses of such subject matter. 17

        18.     Documents concerning the making, using, testing, selling, or disclosure, anywhere

in the world, of any embodiment described and/or claimed in the Asserted Patent, or any Product,

process, equipment, or service embodying or using such invention, prior to August 4, 2010. 18

        19.     Documents relating to any Prior Art search performed by You, on Your behalf, or

that you are aware of, relating to the Asserted Patent, including, but not limited to, any search

methodology or results, from August 4, 2010 to August 2, 2017. 19

        20.     Documents relating to any Prior Art search performed by You, on Your behalf, or

that you are aware of, relating to any Related Patent or Related Application, including, but not




17
     Such materials will be relevant to defenses, such as invalidity (including obviousness,
     secondary considerations regarding obviousness, and anticipation) and inequitable conduct.
18
     Such materials will be relevant to defenses, such as invalidity (including obviousness,
     secondary considerations regarding obviousness, and anticipation) and inequitable conduct.
19
     Such materials will be relevant to defenses, such as invalidity (including obviousness,
     secondary considerations regarding obviousness, and anticipation) and inequitable conduct.


                                                 14
limited to, any search methodology or results, from April 18, 2013 to August 2, 2017. 20

        21.     Communications, studies, comparisons, reports, surveys, evaluations, opinions, or

memorandums regarding whether any claim in the Asserted Patent is invalid, valid, enforceable,

or unenforceable (including any Prior Art or alleged Prior Art), from August 4, 2010 to August

2, 2017. 21

        22.     Documents that concern the commercial success (a secondary consideration

regarding obviousness of the Asserted Patent as considered under 35 U.S.C. § 103) of any

Product, process, equipment, or service that has a nexus to any invention claimed in the Asserted

Patent (i.e., the Product, process, equipment, or service is “essentially the claimed invention” 22),

from August 4, 2010 to August 2, 2017. 23

        23.     Documents that concern any copying by others (a secondary consideration

regarding obviousness of the Asserted Patent as considered under 35 U.S.C. § 103) of any

invention claimed in the Asserted Patent, or of any Product, process, equipment, or service that




20
     Such materials will be relevant to defenses, such as invalidity (including obviousness,
     secondary considerations regarding obviousness, and anticipation) and inequitable conduct.
21
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as invalidity (including obviousness, secondary considerations
     regarding obviousness, anticipation, patent-eligibility, written description, indefiniteness, and
     enablement) and inequitable conduct.
22
     Fox Factory, Inc. v. SRAM, LLC, 944 F. 3d 1366, 1374 (Fed. Cir. 2019).
23
     Such materials will be relevant to defenses, such as invalidity (including obviousness and
     secondary considerations regarding obviousness). Such materials will also be relevant to
     quantifying any alleged damages pursuant the Georgia-Pacific factors, which require
     consideration of the: “established profitability of the product made under the patent”; “the
     character of the commercial embodiment of it as owned and produced by the licensor”; and
     “portion of the realizable profit that should be credited to the invention”; among others
     things. Georgia-Pacific Corp. v. United States Plywood Corp., 318 F. Supp. 1116, 1119–20
     (S.D.N.Y. 1970). Courts in the United States consider these Georgia-Pacific factors when
     determining a reasonable royalty for patent infringement damages. See, e.g., Lucent
     Technologies, Inc. v. Gateway, Inc., 580 F. 3d 1301, 1324–37 (Fed. Cir. 2009).


                                                  15
embodies or uses such invention, from August 4, 2010 to August 2, 2017. 24

        24.     Documents that concern any third party’s praise, criticism, acknowledgments,

awards, or discussion of the significance (a secondary consideration regarding obviousness of the

Asserted Patent as considered under 35 U.S.C. § 103) of any invention claimed in the Asserted

Patent, or of any Product, process, equipment, or service that embodies or uses such invention,

from August 4, 2010 to August 2, 2017. 25

        25.     Communications (or Documents relating thereto) between You and Plaintiff, from

April 18, 2013 to the present, relating to:

                 a.     The Asserted Patent, Related Patents, Related Applications, or any

                        inventions disclosed therein;

                 b.     This Action (including, without limitation, the initiation of this Action

                        and the actual or anticipated costs, profits, and outcome of this Action);

                        and

                 c.     Any Defendant, any of Defendants’ technology, or any of the Accused

                        Products. 26

        26.     Communications (or Documents relating thereto) between You and any of the

Named Inventors, from April 18, 2013 to the present, relating to:

                 a.     The Asserted Patent, Related Patents, Related Applications, or any


24
      Such materials will be relevant to defenses, such as invalidity (including obviousness and
     secondary considerations regarding obviousness).
25
     Such materials will be relevant to defenses, such as invalidity (including obviousness and
     secondary considerations regarding obviousness).
26
     Such materials will be relevant to quantifying any alleged damages. Such materials will also
     be relevant to defenses, such as non-infringement and invalidity (including obviousness,
     secondary considerations regarding obviousness, anticipation, patent-eligibility, written
     description, indefiniteness, and enablement).


                                                16
                         inventions disclosed therein;

                 b.      This Action (including, without limitation, the initiation of this Action

                         and the actual or anticipated costs, profits, and outcome of this Action);

                         and

                 c.      Any Defendant, any of Defendants’ technology, or any of the Accused

                         Products. 27

        27.     Negotiations, agreements, draft agreements between You and Plaintiff, from April

18, 2013 to the present, relating to:

                 a.      The Asserted Patent, Related Patents, Related Applications, or any

                         inventions disclosed therein;

                 b.      This Action (including, the initiation of this Action and the actual or

                         anticipated costs, profits, and outcome of this Action); or

                 c.      Any Defendant, any of Defendants’ technology, or any of the Accused

                         Products. 28

        28.     Negotiations, agreements, draft agreements between You and any Named

Inventor, from April 18, 2013 to the present, relating to:

                 a.      The Asserted Patent, Related Patents, Related Applications, or any




27
     Such materials will be relevant to quantifying any alleged damages. Such materials will also
     be relevant to defenses, such as non-infringement and invalidity (including obviousness,
     secondary considerations regarding obviousness, anticipation, patent-eligibility, written
     description, indefiniteness, and enablement).
28
     Such materials will be relevant to quantifying any alleged damages. Such materials will also
     be relevant to defenses, such as non-infringement and invalidity (including obviousness,
     secondary considerations regarding obviousness, anticipation, patent-eligibility, written
     description, indefiniteness, and enablement).


                                                 17
                         inventions disclosed therein;

                 b.      This Action (including the initiation of this Action and the actual or

                         anticipated costs, profits, and outcome of this Action); or

                 c.      Any Defendant, any of Defendants’ technology, or any of the Accused

                         Products. 29

        29.     Documents and Communications concerning any statement, concern, or

contention by You, any Named Inventor, or any person involved in the prosecution of the

Asserted Patent, regarding the scope of any of the claims or the interpretation or construction of

any term or phrase in the claims of the Asserted Patent, from August 4, 2010 to August 2, 2017. 30

        30.     Documents concerning the alleged infringement of any of the claims of the

Asserted Patent, including studies, comparisons, reports, surveys, and any evaluation, opinion,

memorandum, or report, comparing any of the Accused Products or any portion, feature, and/or

aspect thereof to any limitation in any claim of the Asserted Patent, from August 4, 2010 to

August 2, 2017 . 31

        31.     Documents and Communications concerning any decision to pursue or not to

pursue a claim infringement of the Asserted Patent against any Defendant, from April 18, 2013




29
     Such materials will be relevant to quantifying any alleged damages. Such materials will also
     be relevant to defenses, such as non-infringement and invalidity (including obviousness,
     secondary considerations regarding obviousness, anticipation, patent-eligibility, written
     description, indefiniteness, and enablement).
30
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement) and inequitable conduct.
31
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement.


                                                 18
to August 2, 2017. 32

         32.     Documents and Communications concerning any decision to pursue or not to

pursue a claim infringement of any Related Patent against any Defendant, from April 18, 2013 to

August 2, 2017. 33

         33.     Documents comprising or memorializing any sworn statements, including

affidavits, declarations, trial and deposition testimony related to the subject matter of the Asserted

Patent, by any of the Named Inventors or any person involved in the prosecution of the Asserted

Patent. 34

         34.     Documents comprising or memorializing any sworn statements, including

affidavits, declarations, trial and deposition testimony related to the subject matter of any Related

Patents or Related Applications, by any of the Named Inventors or any person involved in the

prosecution of the Asserted Patent. 35

         35.     Documents and Communications, relating to or concerning the assignment,

licensing, acquisition, financial interest, security interest, sale, transfer of rights (in whole or in

part), or any other disposition of, or any offers to buy, sell, or license the Asserted Patent or any



 32
      Such materials will be relevant to quantifying any alleged damages pursuant the Georgia-
      Pacific factors, which require consideration of the “commercial relationship between the
      licensor and licensee”; among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.
 33
      Such materials will be relevant to quantifying any alleged damages pursuant the Georgia-
      Pacific factors, which require consideration of the “commercial relationship between the
      licensor and licensee”; among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.
 34
      Such materials will be relevant to determining the scope of the patents in claim construction
      and to defenses, such as non-infringement and invalidity (including obviousness, secondary
      considerations regarding obviousness, anticipation, patent-eligibility, written description,
      indefiniteness, and enablement) and inequitable conduct.
 35
      Such materials will be relevant to determining the scope of the patents in claim construction
      and to defenses, such as non-infringement and invalidity (including obviousness, secondary
      considerations regarding obviousness, anticipation, patent-eligibility, written description,
      indefiniteness, and enablement) and inequitable conduct.


                                                  19
Related Patents or Related Applications. 36 This includes, but is not limited to:

                 a.      Agreements granting rights, assignments, licenses, covenants, royalties,

                         settlements, agreements releasing any third party from liability for

                         infringement, and covenants not to sue, involving or concerning the

                         Asserted Patent, Related Patents, or Related Applications;

                 b.      Negotiations, discussions, or other Communications relating to the

                         Documents referenced in sub-paragraph a; and

                 c.      Communications (or documents relating thereto) between You and any

                         potential Licensee or purchaser of the Asserted Patent, Related Patents or

                         Related Applications.

        36.     Documents and Communications sufficient to identify any and all entities that

have acquired any right, financial interest, or security interest in the Asserted Patent. 37

        37.     Studies, comparisons, reports, surveys, evaluations, opinions, or memorandums,

regarding ownership of the Asserted Patent, from April 18, 2013 to August 2, 2017. 38


36
     Such materials will be relevant to license exhaustion defenses, as well as, to quantifying any
     alleged damages pursuant the Georgia-Pacific factors, which require consideration of the:
     “royalties received by the patentee”; “rates paid by the licensee for the use of other patents
     comparable to the patent in suit”; “established profitability of the product made under the
     patent”; “character of the commercial embodiment of it as owned and produced by the
     licensor”; and “portion of the realizable profit that should be credited to the invention”;
     among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.
37
     Such materials will be relevant to license exhaustion defenses, as well as, to quantifying any
     alleged damages pursuant the Georgia-Pacific factors, which require consideration of the:
     “royalties received by the patentee”; “rates paid by the licensee for the use of other patents
     comparable to the patent in suit”; “established profitability of the product made under the
     patent”; “character of the commercial embodiment of it as owned and produced by the
     licensor”; and “portion of the realizable profit that should be credited to the invention”;
     among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.
38
     Such materials will be relevant to license exhaustion defenses, as well as, to quantifying any
     alleged damages pursuant the Georgia-Pacific factors, which require consideration of the:


                                                  20
        38.     Studies, comparisons, reports, surveys, evaluations, opinions, or memorandums,

regarding any standstills involving or concerning the Asserted Patent, from April 18, 2013 to

August 2, 2017. 39

        39.     Studies, comparisons, reports, surveys, evaluations, opinions, or memorandums,

regarding sales, royalties, covenants, or licenses involving or concerning the Asserted Patent,

from April 18, 2013 to August 2, 2017. 40

        40.     Documents and Communications concerning any business plans, marketing plans,

marketing efforts, advertising plans, advertising efforts, promotional programs, or offers for sale,




     “royalties received by the patentee”; “rates paid by the licensee for the use of other patents
     comparable to the patent in suit”; “established profitability of the product made under the
     patent”; “character of the commercial embodiment of it as owned and produced by the
     licensor”; and “portion of the realizable profit that should be credited to the invention”;
     among others things. Georgia-Pacific, 318 F. Supp. at 1119–20. Such materials will also be
     relevant to defenses, such as non-infringement and invalidity (including obviousness,
     secondary considerations regarding obviousness, anticipation, patent-eligibility, written
     description, indefiniteness, and enablement).
39
     Such materials will be relevant to license exhaustion defenses, as well as, to quantifying any
     alleged damages pursuant the Georgia-Pacific factors, which require consideration of the:
     “royalties received by the patentee”; “rates paid by the licensee for the use of other patents
     comparable to the patent in suit”; “established profitability of the product made under the
     patent”; “character of the commercial embodiment of it as owned and produced by the
     licensor”; and “portion of the realizable profit that should be credited to the invention”;
     among others things. Georgia-Pacific, 318 F. Supp. at 1119–20. Such materials will also be
     relevant to defenses, such as non-infringement and invalidity (including obviousness,
     secondary considerations regarding obviousness, anticipation, patent-eligibility, written
     description, indefiniteness, and enablement).
40
     Such materials will be relevant to license exhaustion defenses, as well as, to quantifying any
     alleged damages pursuant the Georgia-Pacific factors, which require consideration of the:
     “royalties received by the patentee”; “rates paid by the licensee for the use of other patents
     comparable to the patent in suit”; “established profitability of the product made under the
     patent”; “character of the commercial embodiment of it as owned and produced by the
     licensor”; and “portion of the realizable profit that should be credited to the invention”;
     among others things. Georgia-Pacific, 318 F. Supp. at 1119–20. Such materials will also be
     relevant to defenses, such as non-infringement and invalidity (including obviousness,
     secondary considerations regarding obviousness, anticipation, patent-eligibility, written
     description, indefiniteness, and enablement).


                                                 21
involving or concerning the Asserted Patent, from April 18, 2013 to August 2, 2017. 41

        41.     Documents and Communications sufficient to identify any and all entities that

have acquired any right, financial interest, or security interest in Related Patents or Related

Applications. 42

        42.     Studies, comparisons, reports, surveys, evaluations, opinions, or memorandums,

regarding ownership of Related Patents or Related Applications, from April 18, 2013 to August

2, 2017. 43

        43.     Studies, comparisons, reports, surveys, evaluations, opinions, or memorandums,

regarding any standstills involving or concerning Related Patents or Related Applications, from

April 18, 2013 to August 2, 2017. 44


41
     Such materials will be relevant to quantifying any alleged damages pursuant the Georgia-
     Pacific factors, which require consideration of the: “established profitability of the product
     made under the patent”; “character of the commercial embodiment of it as owned and
     produced by the licensor”; and “portion of the realizable profit that should be credited to the
     invention”; among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.
42
     Such materials will be relevant to license exhaustion defenses, as well as, to quantifying any
     alleged damages pursuant the Georgia-Pacific factors, which require consideration of the:
     “royalties received by the patentee”; “rates paid by the licensee for the use of other patents
     comparable to the patent in suit”; “established profitability of the product made under the
     patent”; “character of the commercial embodiment of it as owned and produced by the
     licensor”; and “portion of the realizable profit that should be credited to the invention”;
     among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.
43
     Such materials will be relevant to license exhaustion defenses, as well as, to quantifying any
     alleged damages pursuant the Georgia-Pacific factors, which require consideration of the:
     “royalties received by the patentee”; “rates paid by the licensee for the use of other patents
     comparable to the patent in suit”; “established profitability of the product made under the
     patent”; “character of the commercial embodiment of it as owned and produced by the
     licensor”; and “portion of the realizable profit that should be credited to the invention”;
     among others things. Georgia-Pacific, 318 F. Supp. at 1119–20. Such materials will also be
     relevant to defenses, such as non-infringement and invalidity (including obviousness,
     secondary considerations regarding obviousness, anticipation, patent-eligibility, written
     description, indefiniteness, and enablement).
44
     Such materials will be relevant to license exhaustion defenses, as well as, to quantifying any
     alleged damages pursuant the Georgia-Pacific factors, which require consideration of the:
     “royalties received by the patentee”; “rates paid by the licensee for the use of other patents


                                                 22
        44.     Studies, comparisons, reports, surveys, evaluations, opinions, or memorandums,

regarding sales, royalties, covenants, or licenses involving or concerning Related Patents or

Related Applications, from April 18, 2013 to August 2, 2017. 45

        45.     Documents and Communications concerning any business plans, marketing plans,

marketing efforts, advertising plans, advertising efforts, promotional programs, or offers for sale,

involving or concerning Related Patents, or Related Applications, from April 18, 2013 to August

2, 2017. 46

        46.     Documents and Communications concerning any budgets, forecasts, revenues,

licensing strategies, projections, costs, sales, expenses, margins, profits (including gross and net

profits), or any other means for generating revenue from any Product, process, equipment, or

service that You allege or believe embodies any claim of the Asserted Patent, from April 18, 2013




     comparable to the patent in suit”; “established profitability of the product made under the
     patent”; “character of the commercial embodiment of it as owned and produced by the
     licensor”; and “portion of the realizable profit that should be credited to the invention”;
     among others things. Georgia-Pacific, 318 F. Supp. at 1119–20. Such materials will also be
     relevant to defenses, such as non-infringement and invalidity (including obviousness,
     secondary considerations regarding obviousness, anticipation, patent-eligibility, written
     description, indefiniteness, and enablement).
45
     Such materials will be relevant to license exhaustion defenses, as well as, to quantifying any
     alleged damages pursuant the Georgia-Pacific factors, which require consideration of the:
     “royalties received by the patentee”; “rates paid by the licensee for the use of other patents
     comparable to the patent in suit”; “established profitability of the product made under the
     patent”; “character of the commercial embodiment of it as owned and produced by the
     licensor”; and “portion of the realizable profit that should be credited to the invention”;
     among others things. Georgia-Pacific, 318 F. Supp. at 1119–20. Such materials will also be
     relevant to defenses, such as non-infringement and invalidity (including obviousness,
     secondary considerations regarding obviousness, anticipation, patent-eligibility, written
     description, indefiniteness, and enablement).
46
     Such materials will be relevant to quantifying any alleged damages pursuant the Georgia-
     Pacific factors, which require consideration of the: “established profitability of the product
     made under the patent”; “character of the commercial embodiment of it as owned and
     produced by the licensor”; and “portion of the realizable profit that should be credited to the
     invention”; among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.


                                                 23
to present. 47

         47.     Documents related to the relationship between You and potential or actual

Licensees regarding the Asserted Patent, including agreements and draft agreements with such

potential Licensees, Communications with such potential Licensees, and Documents exchanged

with such potential Licensees that relate to such patents. 48

         48.     Documents related to the relationship between You and potential or actual

Licensees regarding the Related Patents or Related Applications, including agreements and draft

agreements with such potential Licensees, Communications with such potential Licensees, and

Documents exchanged with such potential Licensees that relate to such patents. 49

         49.     Documents reflecting any analyses or projections regarding the financial impact

and duration thereof on You or any other assignee or Licensee due to the alleged infringement of

the Asserted Patent, from April 18, 2013 to August 2, 2017. 50


 47
      Such materials will be relevant to quantifying any alleged damages pursuant the Georgia-
      Pacific factors, which require consideration of the: “established profitability of the product
      made under the patent”; “character of the commercial embodiment of it as owned and
      produced by the licensor”; and “portion of the realizable profit that should be credited to the
      invention”; among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.
 48
      Such materials will be relevant to patent exhaustion and license defenses, as well as, to
      quantifying any alleged damages pursuant the Georgia-Pacific factors, which require
      consideration of the: “royalties received by the patentee”; “rates paid by the licensee for the
      use of other patents comparable to the patent in suit”; “established profitability of the product
      made under the patent”; “character of the commercial embodiment of it as owned and
      produced by the licensor”; and “portion of the realizable profit that should be credited to the
      invention”; among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.
 49
      Such materials will be relevant to patent exhaustion and license defenses, as well as, to
      quantifying any alleged damages pursuant the Georgia-Pacific factors, which require
      consideration of the: “royalties received by the patentee”; “rates paid by the licensee for the
      use of other patents comparable to the patent in suit”; “established profitability of the product
      made under the patent”; “character of the commercial embodiment of it as owned and
      produced by the licensor”; and “portion of the realizable profit that should be credited to the
      invention”; among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.
 50
      Such materials will be relevant to quantifying any alleged damages pursuant the Georgia-
      Pacific factors, which require consideration of the: “royalties received by the patentee”;


                                                   24
        50.     Valuations of the Asserted Patent (either alone, or together with other patents or

consideration, including as part of an intellectual property portfolio), from April 18, 2013 to

August 2, 2017. 51

        51.     Valuations of Related Patents or Related Applications (either alone, or together

with other patents or consideration, including as part of an intellectual property portfolio), from

April 18, 2013 to August 2, 2017. 52

        52.     Documents and Communications concerning or relating to an appraisal or

valuation of any license, covenant, royalty, technology transfer, or authorization-to-use

agreement that relates to the Asserted Patent, including appraisals or valuations performed for tax

purposes, from April 18, 2013 to August 2, 2017. 53




     “rates paid by the licensee for the use of other patents comparable to the patent in suit”;
     “established profitability of the product made under the patent”; “character of the commercial
     embodiment of it as owned and produced by the licensor”; and “portion of the realizable
     profit that should be credited to the invention”; among others things. Georgia-Pacific, 318 F.
     Supp. at 1119–20.
51
     Such materials will be relevant to quantifying any alleged damages pursuant the Georgia-
     Pacific factors, which require consideration of the: “royalties received by the patentee”;
     “rates paid by the licensee for the use of other patents comparable to the patent in suit”;
     “established profitability of the product made under the patent”; “character of the commercial
     embodiment of it as owned and produced by the licensor”; and “portion of the realizable
     profit that should be credited to the invention”; among others things. Georgia-Pacific, 318 F.
     Supp. at 1119–20.
52
     Such materials will be relevant to quantifying any alleged damages pursuant the Georgia-
     Pacific factors, which require consideration of the: “royalties received by the patentee”;
     “rates paid by the licensee for the use of other patents comparable to the patent in suit”;
     “established profitability of the product made under the patent”; “character of the commercial
     embodiment of it as owned and produced by the licensor”; and “portion of the realizable
     profit that should be credited to the invention”; among others things. Georgia-Pacific, 318 F.
     Supp. at 1119–20.
53
     Such materials will be relevant to quantifying any alleged damages pursuant the Georgia-
     Pacific factors, which require consideration of the: “established profitability of the product
     made under the patent”; “character of the commercial embodiment of it as owned and
     produced by the licensor”; and “portion of the realizable profit that should be credited to the
     invention”; among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.


                                                 25
           53.    Documents and Communications concerning or relating to any right, title, or

interest in any litigation or action involving any of the Asserted Patent, Related Patents, or Related

Applications, including analyses or opinions related thereto, from April 18, 2013 to August 2,

2017. 54

           54.    Documents sufficient to identify any licensing policy that You may have,

including without limitation policies and practices relating to taking or granting licenses, relating

to any of the Asserted Patent, Related Patents, or Related Applications. 55

            55.   Documents and Communications concerning whether You and/or Your Licensees

 have complied with the marking or notice provisions of 35 U.S.C. § 287(a) 56 with respect to the

 Asserted Patent, including but not limited to one copy or sample of each and every Product

 and/or package or other material on which the patent number of the Asserted Patent has been or


54
     Such materials will be relevant to quantifying any alleged damages pursuant the Georgia-
     Pacific factors, which require consideration of the: “established profitability of the product
     made under the patent”; “character of the commercial embodiment of it as owned and
     produced by the licensor” and “portion of the realizable profit that should be credited to the
     invention”; among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.
55
     Such materials will be relevant to quantifying any alleged damages pursuant the Georgia-
     Pacific factors, which require consideration of the “licensor’s established policy and
     marketing program to maintain his patent monopoly by not licensing others to use the
     invention or by granting licenses under special conditions designed to preserve that
     monopoly”, among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.
56
     35 U.S.C. § 287(a) states: “Patentees, and persons making, offering for sale, or selling within
     the United States any patented article for or under them, or importing any patented article
     into the United States, may give notice to the public that the same is patented, either by
     fixing thereon the word “patent” or the abbreviation “pat.”, together with the number of the
     patent, or by fixing thereon the word “patent” or the abbreviation “pat.” together with an
     address of a posting on the Internet, accessible to the public without charge for accessing the
     address, that associates the patented article with the number of the patent, or when, from the
     character of the article, this can not be done, by fixing to it, or to the package wherein one or
     more of them is contained, a label containing a like notice. In the event of failure so to mark,
     no damages shall be recovered by the patentee in any action for infringement, except on
     proof that the infringer was notified of the infringement and continued to infringe thereafter,
     in which event damages may be recovered only for infringement occurring after such notice.
     Filing of an action for infringement shall constitute such notice.”


                                                  26
 are marked. 57

          56.     Documents sufficient to identify, and to show the design, operation, or functioning

 of, any commercially acceptable, non-infringing (potential or actual) alternative to the subject

 matter claimed in the Asserted Patent, after December 16, 2014. 58

          57.     Documents sufficient to identify, and to show the design, operation, or functioning

 of any technically acceptable, non-infringing (potential or actual) alternative to the subject

 matter claimed in the Asserted Patent, after December 16, 2014. 59

        58.       Documents sufficient to identify the nature and scope of any rights in the Asserted

Patent that You have obtained and/or retained at any time, including, without limitation, any right

to control litigation, future royalties, payments for licenses of the Asserted Patent, or payments

relating to or resulting from the outcome of any litigation involving or relating to the Asserted

Patent (including without limitation the Action). 60

        59.       Documents and Communications exchanged with any trade associations,

standards setting organizations, or industry working groups, relating to the Asserted Patent, or




57
     Such materials will be relevant to defenses relating to damages, including failure to mark.
58
     Such materials will be relevant to defenses relating to damages, including the availability of
     non-infringing alternatives.
59
     Such materials will be relevant to defenses relating to damages, including the availability of
     non-infringing alternatives.
60
     Such materials will be relevant to issue regarding Plaintiffs standing to bring the current suit
     and joinder of the proper parties. Such materials will be relevant to patent exhaustion and
     license defenses, as well as, to quantifying any alleged damages pursuant the Georgia-Pacific
     factors, which require consideration of the: “royalties received by the patentee”; “rates paid
     by the licensee for the use of other patents comparable to the patent in suit”; “established
     profitability of the product made under the patent”; “character of the commercial
     embodiment of it as owned and produced by the licensor”; and “portion of the realizable
     profit that should be credited to the invention”; among others things. Georgia-Pacific, 318 F.
     Supp. at 1119–20.


                                                   27
the inventions disclosed therein, from April 18, 2013 to the present. 61 This includes but is not

limited to:

                 a.      Communications with trade associations, standards setting organizations,

                         or industry trade groups relating to the Asserted Patent, or the inventions

                         disclosed therein;

                 b.      Technical and non-technical submissions to trade associations, standards

                         setting organizations, or industry trade groups relating to the Asserted

                         Patent, or the inventions disclosed therein;

                 c.      Intellectual property declarations to any trade associations, standards

                         setting organizations, or industry trade groups relating to the Asserted

                         Patent, or the inventions disclosed therein;

                 d.      Documents related to trade associations, standards setting organizations,

                         or industry trade groups meetings (including working group meetings)

                         where the subject matter described and/or claimed in the Asserted Patent

                         was discussed.

        60.     Documents and Communications exchanged with any trade associations,

standards setting organizations, or industry working groups, relating to Related Patents, Related

Applications, or the inventions disclosed therein, from April 18, 2013 to the present. 62 This


61
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement, and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement).
62
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement, and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement).


                                                 28
includes but is not limited to:

                 a.      Communications with trade associations, standards setting organizations,

                         or industry trade groups relating to Related Patents, Related Applications,

                         or the inventions disclosed therein;

                 b.      Technical and non-technical submissions to trade associations, standards

                         setting organizations, or industry trade groups relating to Related Patents,

                         Related Applications, or the inventions disclosed therein;

                 c.      Intellectual property declarations to any trade associations, standards

                         setting organizations, or industry trade groups relating to Related Patents,

                         Related Applications, or the inventions disclosed therein;

                 d.      Documents related to trade associations, standards setting organizations,

                         or industry trade groups meetings (including working group meetings)

                         where the subject matter described and/or claimed in Related Patents was

                         discussed.

        61.     Documents (including without limitation correspondence, notes, meeting minutes,

proposals, statements, and other Communications) regarding what constitutes Fair Reasonable

and Non-Discriminatory (“FRAND”) or Reasonable and Non-Discriminatory (“RAND”) terms

relating to patent licensing in the technical space related to the subject matter of the Asserted

Claims. 63


63
     Such materials will be relevant to quantifying any alleged damages pursuant the Georgia-
     Pacific factors, which require consideration of the: “royalties received by the patentee”;
     “rates paid by the licensee for the use of other patents comparable to the patent in suit”;
     “established profitability of the product made under the patent”; “character of the commercial
     embodiment of it as owned and produced by the licensor”; “portion of the profit or of the
     selling price that may be customary in the particular business or in comparable businesses to


                                                 29
        62.     Documents sufficient to identify all sections and/or subsection of any standard or

draft standard to which You believe the Asserted Patent are essential. 64

        63.     Documents sufficient to identify all sections and/or subsection of any standard or

draft standard to which You believe the Asserted Patent is relevant to. 65

        64.     Agreements that You have concerning patents declared essential to or any

standard related to the subject matter of the Asserted Patent, such as standards maintained by the

Institute of Electrical and Electronics Engineers, Internet Engineering Task Force, and the

European Telecommunications Standards Institute. 66


     allow for the use of the invention or analogous inventions”; and “portion of the realizable
     profit that should be credited to the invention”; among others things. Georgia-Pacific, 318 F.
     Supp. at 1119–20.
64
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement, and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to quantifying any
     alleged damages pursuant the Georgia-Pacific factors, which require consideration of the:
     “royalties received by the patentee”; “rates paid by the licensee for the use of other patents
     comparable to the patent in suit”; “established profitability of the product made under the
     patent”; “character of the commercial embodiment of it as owned and produced by the
     licensor”; and “portion of the realizable profit that should be credited to the invention”;
     among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.
65
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement, and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to quantifying any
     alleged damages pursuant the Georgia-Pacific factors, which require consideration of the:
     “royalties received by the patentee”; “rates paid by the licensee for the use of other patents
     comparable to the patent in suit”; “established profitability of the product made under the
     patent”; “character of the commercial embodiment of it as owned and produced by the
     licensor”; and “portion of the realizable profit that should be credited to the invention”;
     among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.
66
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement, and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to quantifying any
     alleged damages pursuant the Georgia-Pacific factors, which require consideration of the:
     “royalties received by the patentee”; “rates paid by the licensee for the use of other patents


                                                30
        65.     Agreements that You have concerning patents that You contend are relevant to

standards related to the subject matter of the Asserted Patent, such as standards maintained by

the Institute of Electrical and Electronics Engineers, Internet Engineering Task Force, and the

European Telecommunications Standards Institute. 67

        66.     Documents sufficient to identify patents of which You are aware that have been

contented to be essential to, or relevant to, standards or draft standard for which the Asserted

Patent has been contented to be essential to, or relevant to, such as standards maintained by the

Institute of Electrical and Electronics Engineers, Internet Engineering Task Force, and the

European Telecommunications Standards Institute. 68

        67.     Documents sufficient to show Your past and present electronic data and Document




     comparable to the patent in suit”; “established profitability of the product made under the
     patent”; “character of the commercial embodiment of it as owned and produced by the
     licensor”; and “portion of the realizable profit that should be credited to the invention”;
     among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.
67
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement, and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to quantifying any
     alleged damages pursuant the Georgia-Pacific factors, which require consideration of the:
     “royalties received by the patentee”; “rates paid by the licensee for the use of other patents
     comparable to the patent in suit”; “established profitability of the product made under the
     patent”; “character of the commercial embodiment of it as owned and produced by the
     licensor”; and “portion of the realizable profit that should be credited to the invention”;
     among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.
68
     Such materials will be relevant to determining the scope of the patents in claim construction
     and to defenses, such as non-infringement, and invalidity (including obviousness, secondary
     considerations regarding obviousness, anticipation, patent-eligibility, written description,
     indefiniteness, and enablement). Such materials will also be relevant to quantifying any
     alleged damages pursuant the Georgia-Pacific factors, which require consideration of the:
     “royalties received by the patentee”; “rates paid by the licensee for the use of other patents
     comparable to the patent in suit”; “established profitability of the product made under the
     patent”; “character of the commercial embodiment of it as owned and produced by the
     licensor”; and “portion of the realizable profit that should be credited to the invention”;
     among others things. Georgia-Pacific, 318 F. Supp. at 1119–20.


                                                 31
destruction and retention policies with respect to the Documents produced in response to the

above requests.




                                             32
EXHIBIT D2
                          ORAL EXAMINATION TOPICS REQUESTED

        Defendants Dell Technologies Inc., Dell Inc., and EMC Corporation, (collectively,

 “Defendants”) seek to ask questions on topics described below.

                                         DEFINITIONS

        The following definitions are applicable to terms employed in responding to this request:

1.     “Accused Product” or “Accused Products” shall refer to any device, product, or other thing

       that Plaintiff is permitted to accuse of infringing the Asserted Patent in this Action. A copy

       of the Complaint in case number 6:20-cv-00477-ADA is attached as Exhibit D3. In

       referring to any device, product, or other thing as an “Accused Product,” Defendants in no

       way communicate their agreement that it infringes the Asserted Patent.

2.     “Action” shall refer to the above-captioned proceeding in the United States District Court

       for the Western District of Texas, with case number 6:20-cv-00477-ADA.

3.     “Asserted Claim” shall refer to each claim of the Asserted Patent that Plaintiff contends

       Defendants infringe.

4.     “Asserted Patent” shall refer to U.S. Patent No. 8,913,489 and any patent applications

       related thereto.

5.     “Communication” shall mean, without limitation, any written, oral, or other transmission

       of information, including but not limited to emails.

6.     “Complaint” shall refer to the Complaint (including exhibits) that Plaintiff filed on June 2,

       2020 as docket number 1 in this Action, as may be amended.

7.     “Concerning,” “refer(s) to,” “related to,” “reflecting,” and “relating to” shall mean directly

       or indirectly relating to, referring to, mentioning, reflecting, pertaining to, evidencing,

       illustrating, involving, describing, discussing, commenting on, embodying, responding to,



                                                 2
      supporting, contradicting, or constituting (in whole or in part), as the context makes

      appropriate.

8.    “Defendants” or “Defendant” shall refer to Dell Technologies Inc., Dell Inc., and EMC

      Corporation, and any and all of their then-current or prior subsidiaries, parents, affiliates,

      divisions, successors, predecessors, agents, employees, representatives, directors, officers,

      trustees, and attorneys, or any other person or entity acting in whole or in part in concert

      with any of the foregoing, directly or indirectly.

9.    “Document” shall include, without limitation, all documents, electronically stored

      information, and tangible things within the scope of the Federal Rules of Civil Procedure,

      including Rule 34. Federal Rules of Civil Procedure 34 permits discovery of: “(A)

      documents or electronically stored information—including writings, drawings, graphs,

      charts, photographs, sound recordings, images, and other data or data compilations—stored

      in any medium from which information can be obtained either directly or, if necessary,

      after translation by the responding party into a reasonably usable form; or (B) any

      designated tangible things.”

10.   “Employee” shall refer to any officer, director, partner, employee, representative, or agent.

11.   “Licensee(s)” shall refer to any entity having a license, assignment, covenant not to sue, or

      other understanding, written, oral or implied, that the entity has any rights to the Asserted

      Patent, any Related Patents, or any Related Applications, may practice one or more claims

      of the Asserted Patent and/or that Plaintiff will not file suit or otherwise enforce against

      that entity one or more claims of the Asserted Patent or any Related Patent or Related

      Application.




                                                3
12.   “Named Inventor” shall refer to any individual who is listed as an inventor on the Asserted

      Patent or any Related Patent or Related Application thereof.

13.   “Person” shall refer to any natural person, firm, association, partnership, government

      agency, corporation, proprietorship, or other entity and its officers, directors, partners,

      employee, representatives, and agents.

14.   The terms “Plaintiff,” and/or “WSOU” shall refer to the responding Plaintiff WSOU

      Investments, LLC d/b/a Brazos Licensing and Development, and any and all of its then-

      current or prior subsidiaries, parents, affiliates, divisions, successors, predecessors, agents,

      employees, representatives, directors, officers, trustees, and attorneys, or any other person

      or entity acting in whole or in part in concert with any of the foregoing, directly or

      indirectly.

15.   “Prior Art” encompasses, without limitation, the subject matter described in each and every

      subdivision of 35 U.S.C. §§ 102 and 103, and includes, but is not limited to, memoranda,

      notes, manuals, interviews, testing data, disclosures, prototypes, correspondence,

      drawings, papers, articles, patents, printed publications, public uses, demonstrations, offers

      for sale or license, and sales.

16.   “Related Application(s)” means any and all applications related to the Asserted Patent,

      including any provisional or non-provisional applications, continuations, continuations- in-

      part, divisions, interferences, reexaminations, re-issues, parents, foreign counterpart

      applications, and any other applications disclosing, describing or claiming any invention

      disclosed, described or claimed in the Asserted Patent, or claiming the benefit of the filing

      date of any application whose benefit is claimed in the Asserted Patent, whether or not

      abandoned and whether or not issued.




                                                 4
17.   “Related Patent(s)” means any and all U.S. or foreign patents based upon or related to any

      Related Application(s) or Asserted Patent, including any patents or applications that may

      have been opposed, reexamined, re-issued or subjected to any validity or nullity

      proceeding.

18.   “Third Party” shall refer to any person other than Plaintiff or Defendants.

19.   “You,” “Your,” “Yours” shall refer to Alcatel-Lucent International, and any and all of its

      then-current or prior subsidiaries, parents, affiliates, divisions, successors, predecessors,

      agents, employees, representatives, directors, officers, trustees, and attorneys, or any other

      person or entity acting in whole or in part in concert with any of the foregoing, directly or

      indirectly.

20.   “Product(s)” means a machine, manufacture, apparatus, device, instrument, mechanism,

      appliance, software, service, process, or an assemblage of components/parts (either

      individually or collectively) that are designed to function together electronically,

      mechanically, or otherwise, including any offered for sale or under development.

21.   Any pronouns shall be construed to refer to the masculine, feminine, or neutral gender, in

      singular or plural, as in each case is most appropriate.

22.   The singular form of any word shall be construed to also include the plural, and vice-versa.

23.   The word “each” shall be construed to mean “each and every.”

24.   The words “and” and “or” shall be construed conjunctively or disjunctively, whichever

      makes the request more inclusive.

25.   The words “any” and “all” shall be construed to mean “any and all.”

                                       INSTRUCTIONS

1.    This request seeks disclosure to the full extent of the Federal Rules of Civil Procedure and

      shall be interpreted as inclusive rather than exclusive.


                                                5
2.      It is Your duty in responding to this request to designate one or more officers, directors,

        managing agents, or other Persons who are the most knowledgeable with respect to the

        topics identified below.

                                      DEPOSITION TOPICS

        1.      The alleged invention(s) claimed in each Asserted Claim, and the alleged benefits,

advantages, disadvantages or limitations of those alleged invention(s) as compared to the state

of the art at the time of filing, and the factual bases thereof.

        2.      The inventorship of each Asserted Claim, including identification of any

individuals other than the Named Inventors who aided or participated in the conception,

reduction to practice, or diligence toward reduction to practice of the subject matter of the

Asserted Claims.

        3.      The role of each Named Inventor, as well as any individual identified pursuant to

Topic No. 2, in the alleged invention of each Asserted Claim, including conception, diligence

and reduction to practice, and including the subject matter to which each Person contributed, and

the dates and circumstances in which each Named Inventor, as well as any individual identified

pursuant to Topic No. 2, made such contributions.

        4.      The conception, reduction to practice, and diligence toward the reduction to

practice of each Asserted Claim, and any corroboration thereof.

        5.      The dates and circumstances concerning any first disclosure, demonstration, sale

or offer for sale of any prototype or commercial embodiment of any of the inventions claimed in

the Asserted Claims, and the identification and subject matter of any documents relating to or

referring to each such activity.

        6.      The past and current ownership of the Asserted Patent, including its chain of title.




                                                   6
       7.      The preparation and prosecution of the applications relating to the Asserted

Patent, any Related Patents, Related Applications, and patents and applications incorporated by

reference into the Asserted Patent, and any certificates of correction.

       8.      The state of the art at the time of filing for the Asserted Patent, any Related

Patents, Related Applications, and patents and applications incorporated by reference into the

Asserted Patent, and Your knowledge thereof.

       9.      Any facts, studies, investigations, information, documents (including Prior Art),

and analyses You identified, received, or knew at any time relating to the alleged validity,

enforceability, infringement, valuation, or priority dates of the Asserted Patent, Related Patents,

Related Applications, or patents and applications incorporated by reference into the Asserted

Patent, including any Communications with third parties relating to the foregoing.

       10.     Any facts, studies, investigations, information, documents, and analyses

regarding the structure, functions, development of, or operation of, or that constitute

embodiments of, any alleged invention disclosed or claimed in the Asserted Patent, regardless of

whether such embodiment was commercialized, and regardless of whether or not it worked

properly.

       11.     Any attempts to sell or otherwise transfer financial interests in the Asserted

Patent, any portfolio of patents containing the Asserted Patent, or any patents related to the

subject matter of the Asserted Claims.

       12.     The timing and circumstances related to Your first knowledge or awareness of

any alleged infringement of the Asserted Patent by each of the Defendants.

       13.     Any decision to pursue or not to pursue a claim infringement of any of the claims

of the Asserted Patent against any Defendant.




                                                 7
       14.     Any efforts by You, any predecessor-in-interest of the Asserted Patent, or any

other Person to enforce or license the Asserted Patent, or any portfolio of patents containing the

Asserted Patent, or any patents related to the subject matter of the Asserted Claims.

       15.     Your policies and practices concerning patent agreements (including licensing),

including:

               a.      any written licensing policies or best practices;

               b.      any most favored Licensee;

               c.      the economic and technical factors considered by You in drafting and

                       entering into any license, royalties, standstill or settlement agreements;

               d.      any standard or preferred terms for license, royalty, standstill or settlement

                       agreements;

               e.      the process by which You determine the nature, scope and terms of license

                       agreements in which You are a licensor; and

               f.      any circumstance in which You deviated from such policies.

       16.     Your knowledge of, and participation in, any Communications between Plaintiff

and Defendants prior to the filing of the Action.

       17.     Any Communications related to Plaintiff, including communications related to

licensing of any patents related the subject matter of the Asserted Claims, including the Asserted

Patent, Related Patents, and Related Applications, compensation, license rates, royalties related

thereto, agreements with Plaintiff, Defendants, the Action, the decision to file the Action,

requests or offers to provide assistance, witnesses and/or documents for use in the Lawsuit, and

any discussion about standing of Plaintiff to bring the Action.

       18.     Your relationship with all potential Licensees, including all agreements,



                                                    8
assurances, covenants not to sue, and understandings not to assert patents against such potential

Licensees, including but not limited to Communications and agreements relating to the Asserted

Patent, Related Patents or Related Applications, and the circumstances relating to such activity.

        19.    Your relationship with any entity associated with Stuart A. Shanus, Marc Wade,

and/or Craig Etchegoyen, including without limitation Wade and Company, Orange Holdings,

WSOU, and/or Uniloc USA, Inc., 1 including any patent license agreements with any such entity

that relate to patents or patent applications that claim subject matter related to the subject matter

of the Asserted Claims.

        20.    Any Communication You engaged in regarding each Defendant and its respective

products or services, and any analysis You performed of each Defendant and its respective

products and services related to the Asserted Patent, Related Patents or Related Applications.

        21.    Any valuations of the Asserted Patent or any portfolio of patents that includes the

Asserted Patent.

        22.    Any licenses, assignments, conveyances, security interests, or other agreements

relating to the Asserted Patent, or any portfolio of patents that includes or included the Asserted

Patent, and negotiations leading to and circumstances surrounding such agreement.

        23.    Any revenues and profits received by You for any products practicing the alleged

invention of the Asserted Patent.

        24.    Revenues, costs, expenses, and profits (including gross and net profits) generated

in connection with Your ownership of, the Asserted Patent, and the methodology used to

calculate or otherwise determine revenues, costs, expenses, and/or profits.



 1
     Stuart A. Shanus and Craig Etchegoyen are the Chairman and President of WSOU. Mark
     Wade, Wade and Company, Orange Holdings, and/or Uniloc USA, Inc. are all related
     persons or entities of WSOU.


                                                  9
       25.     Any licensing fees and rates paid to You for each portfolio that includes the

Asserted Patent.

       26.     The rates paid by any Licensee to You for the use of other patents comparable to

the Asserted Patent.

       27.     Any financial interests that You may have in the Asserted Patent, including but

not limited to royalties and the outcome of the Action.

       28.     Any facts, studies, investigations, and analyses relating to any submission of

intellectual property right declarations with respect to the Asserted Patent to any standard

maintained by an international and/or domestic trade association or standards setting

organization, including all analyses or opinions related thereto.

       29.     Any facts, studies, investigations, and analyses relating to any alleged essentiality

of the Asserted Patent to any industry standard, including any Communications with third parties

relating to the foregoing.

       30.     Any investigation of the standards activity and intellectual property right

disclosures of any predecessor-in-interest to the Asserted Patent, including any investigation by

You into the intellectual property right policies, Fair Reasonable and Non-Discriminatory

(“FRAND”) obligations, or Reasonable and Non-Discriminatory (“RAND”) terms relating to

patent licensing in the technical space related to the subject matter of the Asserted Claims.

       31.     The role of You and/or any prior owner of the Asserted Patent, or any affiliates

of You, or a prior owner of the Asserted Patent, in any standards setting organization from

August 4, 2010 to present.

       32.     Any Communications that You, any predecessor-in-interest of the Asserted

Patent, and/or any Named Inventors had with an international and/or domestic trade association



                                                 10
or standards setting organizations regarding the subject matter of the Asserted Claims.

       33.     Any disclosures made by or on behalf of You or any predecessor-in-interest of

the Asserted Patent to an international and/or domestic trade association or standards setting

organization regarding the existence and/or potential standard essentiality of the Asserted Patent,

Related Patents, or Related Applications.

       34.     Your knowledge of, and compliance with, intellectual property right policies of

an international and/or domestic trade association or standards setting organization related to the

subject matter of the Asserted Claims.

       35.     Your knowledge of, and compliance with, FRAND and/or RAND obligations,

including without limitation any policies, guidelines, or instructions, and any related analysis or

discussions.

       36.     Your collection, retention and production of documents and information relevant

to the Action, including but not limited to:

               a.      Your production of documents and information to Defendants, either

                       directly or indirectly through Plaintiff;

               b.      Your efforts to identify, locate and gather documents for production,

                       including identification of custodians;

               c.      the storage types and physical location of relevant data;

               d.      a description of all sources containing the information which has been

                       produced by You, including custodians thereof; and

               e.      all databases and email systems containing information or documents

                       relevant to the Action and produced, referenced, created or used through the

                       present, and operation of such systems or databases, including ability to



                                                 11
                       search, storage, retrieving, backup, archiving, cataloguing, and the identity

                       of Persons responsible for administering those databases and/or email

                       systems.

          37.   The subject matter and content of all Documents and Communications identified

and/or produced in response to the above requests.

          38.   The authenticity of all Documents identified in response to the requests for

production.

          39.   All Documents reviewed by You in connection with the deposition on these

topics.

          40.   For each of the topics set forth in this request, the identity and location of Your

employee, agent, representative, independent contractor, or other partner, affiliate, or business

associate, with the most knowledge concerning that topic.




                                                 12
EXHIBIT D3




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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

   WSOU INVESTMENTS, LLC d/b/a                       §
   BRAZOS LICENSING AND                              §
   DEVELOPMENT,                                      §              NO. 6:20-cv-477-ADA
                                                     §
             Plaintiff,                              §           JURY TRIAL DEMANDED
                                                     §
   v.                                                §
                                                     §
   DELL TECHNOLOGIES INC., DELL                      §
   INC., AND EMC CORPORATION,                        §
                                                     §
             Defendants.                             §

             FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos” or

“Plaintiff”), by and through its attorneys, files this First Amended Complaint (“Amended

Complaint” or “Complaint”) for Patent Infringement against Dell Technologies Inc., Dell Inc., and

EMC Corporation (collectively, “Defendants”) and alleges:

                                        NATURE OF THE ACTION
        1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.

                                               THE PARTIES
        2.       Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

        3.       On information and belief, defendant Dell Technologies Inc. is a Delaware

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682.




                                                      1
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       4.      On information and belief, defendant Dell Inc. is a Delaware corporation with a

principal place of business at One Dell Way, Round Rock, Texas 78682. Dell Inc. is wholly owned

by its corporate parent, Dell Technologies Inc.

       5.      On information and belief, defendant EMC Corporation is a Massachusetts

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682. EMC

Corporation is wholly owned by its corporate parent, Dell Technologies Inc.

                                 JURISDICTION AND VENUE
       6.      This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§ 271, 281, 284, and 285.

       7.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

       8.      This Court has specific and general personal jurisdiction over each defendant

pursuant to due process and/or the Texas Long Arm Statute, because each defendant has committed

acts giving rise to this action within Texas and within this judicial district. The Court’s exercise of

jurisdiction over each defendant would not offend traditional notions of fair play and substantial

justice because each defendant has established minimum contacts with the forum. For example,

on information and belief, each defendant has committed acts of infringement in this judicial

district, by among other things, selling and offering for sale products that infringe the asserted

patent, directly or through intermediaries, as alleged herein.

       9.      Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§1391

and/or 1400(b). Each defendant has established places of business in the Western District of Texas.

Each defendant is registered to do business in Texas. Upon information and belief, each defendant

has transacted business in this District and has committed acts of infringement in this District.




                                                      2
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                             COUNT ONE - INFRINGEMENT OF
                                U.S. PATENT NO. 8,913,489

       10.     Brazos re-alleges and incorporates by reference the preceding paragraphs of this

Complaint.

       11.     On December 16, 2014, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 8,913,489 (“the ‘489 Patent”), entitled “System and Method for

Virtual Fabric Link Failure Recovery.” A true and correct copy of the ‘489 Patent is attached as

Exhibit A to this Complaint.

       12.     Brazos is the owner of all rights, title, and interest in and to the ‘489 Patent,

including the right to assert all causes of action arising under the ‘489 Patent and the right to any

remedies for the infringement of the ‘489 Patent.

       13.     Defendants make, use, sell, offer for sale, import, and/or distribute in the United

States, including within this judicial district, products such as, but not limited to, networking




                                                     3
        Case 6:20-cv-00477-ADA Document 33 Filed 10/19/20 Page 4 of 13




switches with Virtual Link Trunking (VLT), including but not limited to, C9000 series switches

(collectively, the “Accused Products”).

       14.    The Accused Products provide multi-rate, modular switching platforms, which can

be used for campus, mid-market, and large-enterprise networks and support Layer 2 multipath

using VLT.




                                              …




https://www.dell.com/en-us/work/shop/povw/networking-c9000-series
       15.    The Accused Products operate based on Dell Networking OS (DNOS), which

incorporates features from Force10 Networks’s Force10 Operating System (FTOS), including

VLT. VLT allows two physical switches to be represented as a single logical switch, which can be

regarded as a part of a multi-chassis link aggregation group (MC-LAG). With physical links as a




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port-channel, connecting two individual switches configured with VLT would logically group it

as a single entity only for the access switches which connect to the VLT domain.




https://topics-cdn.dell.com/pdf/networking-c9000-series_users-guide_en-us.pdf
       16.     For example, a VLT topology may include two switches, including an Accused

Product, in a VLT Domain that communicates with servers by forming a multi-chassis link

aggregation group over port interfaces of the switches.




                                                   5
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https://downloads.dell.com/solutions/networking-solution-
resources/Virtual%20Link%20Trunking-Reference%20Architecture%202%200_External.pdf

       17.    Further, as shown in the example above, switches in the VLT Domain may be

considered VTI peer devices and connected using a VLTi interconnect port-channel, which acts a

virtual fiber link. The VLT interconnect (VLTi) carries MAC, ARP Tables, and IGMP State

information between the VLT peer switches in a VLT topology.




                     …




                     …




                                                 6
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https://topics-cdn.dell.com/pdf/networking-c9000-series_users-guide_en-us.pdf




https://downloads.dell.com/solutions/networking-solution-
resources/Virtual%20Link%20Trunking-Reference%20Architecture%202%200_External.pdf

       18.      The Accused Products can determine a connection failure of the VLTi

interconnect.




https://downloads.dell.com/solutions/networking-solution-
resources/Virtual%20Link%20Trunking-Reference%20Architecture%202%200_External.pdf




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              …



              …




https://topics-cdn.dell.com/pdf/networking-c9000-series_users-guide_en-us.pdf
       19.    When the MC-LAG is disrupted (e.g., after the Accused Products determines VLTi

and back uplink failure between VLT peer switches), the MC-LAG can be reconfigured into two

link aggregates associated with each VLT peer switch to take the primary role and continue to

communicate traffic over link aggregates to the end node. In the Accused Products, the VLT

backup link can be configurable. If a VLT backup link is not enabled, then during VLTi failure,

both VLT peer switches may take primary roles to form link aggregates.




              …




https://downloads.dell.com/solutions/networking-solution-
resources/Virtual%20Link%20Trunking-Reference%20Architecture%202%200_External.pdf




                                                 8
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https://topics-cdn.dell.com/pdf/networking-c9000-series_users-guide_en-us.pdf
       20.     In the event of VLTi failure causing disruption of the MC-LAG, the spanning tree

protocol (STP) may be initiated in the first set of port interfaces to avoid a traffic loop.




https://www.dell.com/community/s/vjauj58549/attachments/vjauj58549/Network/35449/1/Route
d%20VLT%20v1.2.pdf

       21.     In view of preceding paragraphs, each and every element of at least claim 8 of the

‘489 Patent is found in the Accused Products. And upon information and belief, each and every

element of at least claim 8 of the ’489 Patent is performed or practiced by Defendants at least

through Defendants’ own use and configuration of its own Accused Products, and/or through

Defendants’ own testing and configuration of its own Accused Products, and/or through




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Defendants’ providing services for its Accused Products, including but not limited to providing

installation, deployment, support, and configuration of its Accused Products.

       22.     Defendants continue to directly infringe at least one claim of the ‘489 Patent,

literally or under the doctrine of equivalents, by making, using, selling, offering for sale,

importing, and/or distributing the Accused Products in the United States, including within this

judicial district, without the authority of Brazos.

       23.     In May 2020, Plaintiff filed a suit against Defendants asserting infringement of

the same patent and by the same accused products that are asserted in this case. Plaintiff

dismissed the prior suit before filing this suit. As a result of the prior suit, Defendants had notice

and actual or constructive knowledge of their infringement of the patent-in-suit since at least

May 2020, before the filing of this case. Further, Defendants had knowledge of their

infringement of the patent-in-suit before the filing of this Amended Complaint.1.

       24.     Since at least May 2020, through its actions, Defendants have actively induced

product makers, distributors, retailers, and/or end users of the Accused Products to infringe the


1
  Dell filed a motion to dismiss that is mooted by this amended complaint. Dell’s motion cites a
WDTX case (which relies authority from the District of Delaware) for the proposition that
knowledge of a plaintiff’s patent after the lawsuit was filed is insufficient to plead the requisite
knowledge for indirect infringement. See Aguirre v. Powerchute Sports, LLC, No. SA-10-CV-
0702 XR, 2011 WL 2471299, at *3 (W.D. Tex. June 17, 2011) (citing Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D. Del. 2010)). Several Delaware courts have since rejected this rule
because there is no statutory basis to support it and because there is no purpose served by the
formality of requiring the plaintiff to file an amended complaint in order to be allowed to assert
knowledge of the patents during the period following the filing of the original complaint. See
Walker Digital, LLC v. Facebook, Inc., 852 F. Supp. 2d 559, 566 (D. Del. 2012) (“The court
acknowledges that this result is inconsistent with its prior decisions in Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D.Del.2010), and EON Corp. IP Holdings LLC v. FLO TV Inc., 802
F.Supp.2d 527 (D. Del. 2011). Given the ease of amendment, the limitation of damages to post-
knowledge conduct, and in the interests of judicial economy, the court finds that the better
reasoning is to allow a complaint that satisfies Rule 8 to proceed to discovery rather than
dismissing it for lack of pre-filing knowledge when, by the time the motion to dismiss has been
filed, defendant in fact has the requisite knowledge as pled by plaintiff.”); see also IOENGINE,


                                                      10
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‘489 Patent throughout the United States, including within this judicial district, by, among other

things, advertising and promoting the use of the Accused Products in various websites, including

providing and disseminating product descriptions, operating manuals, and other instructions on

how to implement and configure the Accused Products. Examples of such advertising,

promoting, and/or instructing include the documents at:

   •   https://www.dell.com/en-us/work/shop/povw/networking-c9000-series

   •   https://www.dell.com/en-us/work/shop/productdetailstxn/force10-ftos

   •   https://topics-cdn.dell.com/pdf/networking-c9000-series_users-guide_en-us.pdf

   •   https://downloads.dell.com/solutions/networking-solution-
       resources/Virtual%20Link%20Trunking-
       Reference%20Architecture%202%200_External.pdf

   •   https://www.dell.com/community/s/vjauj58549/attachments/vjauj58549/Network/35449
       /1/Routed%20VLT%20v1.2.pdf

       25.     Since at least May 2020, through its actions, Defendants have contributed to the

infringement of the ‘489 Patent by having others sell, offer for sale, or use the Accused Products

throughout the United States, including within this judicial district, with knowledge that the

Accused Products infringe the ‘489 Patent. The Accused Products are especially made or adapted

for infringing the ‘489 Patent and have no substantial non-infringing use. For example, in view

of the preceding paragraphs, the Accused Products contain functionality which is material to at

least one claim of the ‘489 Patent.

                                            JURY DEMAND

LLC v. PayPal Holdings, Inc., CV 18-452-WCB, 2019 WL 330515, at *4 (D. Del. Jan. 25, 2019)
(“The Court sees no purpose that would be served by the formality of requiring IOENGINE to file
an amended complaint in order to be allowed to assert knowledge of the patents during the period
following the filing of the original complaint.”).




                                                    11
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       Brazos hereby demands a jury on all issues so triable.


                                    REQUEST FOR RELIEF

       WHEREFORE, Brazos respectfully requests that the Court:

       (A)     Enter judgment that Defendants infringe one or more claims of the ‘489 Patent

literally and/or under the doctrine of equivalents;

       (B)     Enter judgment that Defendants have induced infringement and continue to induce

infringement of one or more claims of the ‘489 Patent;

       (C)     Enter judgment that Defendants have contributed to and continue to contribute to

the infringement of one or more claims of the ‘489 Patent;

       (D)     Award Brazos damages, to be paid by Defendants in an amount adequate to

compensate Brazos for such damages, together with pre-judgment and post-judgment interest for

the infringement by Defendants of the ‘489 Patent through the date such judgment is entered in

accordance with 35 U.S.C. § 284, and increase such award by up to three times the amount found

or assessed in accordance with 35 U.S.C. § 284;

       (E)     Declare this case exceptional pursuant to 35 U.S.C. § 285; and

       (F)     Award Brazos its costs, disbursements, attorneys’ fees, and such further and

additional relief as is deemed appropriate by this Court.




                                                      12
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Dated: October 19, 2020             Respectfully submitted,

                                   /s/ James L. Etheridge
                                   James L. Etheridge
                                   Texas State Bar No. 24059147
                                   Ryan S. Loveless
                                   Texas State Bar No. 24036997
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                                   COUNSEL FOR PLAINTIFF




                                         13
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                         UNITED STATES DISTRICT COURT
                              Western District of Texas
                                WACO DIVISION

WSOU INVESTMENTS LLC                             §
                                                 §
vs.                                              §      NO: WA:20-CV-00477-ADA
                                                 §
DELL TECHNOLOGIES INC., DELL INC.,               §
EMC CORPORATION

                 ORDER GOVERNING PROCEEDINGS – PATENT CASE

 This Order shall govern proceedings in this case. The following deadlines are hereby set:

        This case is SET for a telephonic Rule 16 Case Management Conference on
        Wednesday, October 21, 2020 at 1:30 p.m. Participants shall dial into the following
        number 5 minutes before the scheduled time: 866.434.5269; access code 967-8090.
        Lead counsel for each party, and all unrepresented parties, shall be present. Client
        representatives are welcome to attend, but such attendance is not required. In person
        attendance is permitted, but not required. Anyone planning to attend in person should so
        inform the Court by contacting chambers not later than two court days before the
        scheduled hearing so the Court can evaluate whether to hold the conference in the
        courtroom, or in chambers. The Court expects the parties to be prepared to discuss:

            a. an overview of the claims and defenses, including any unique issues the
               parties believe should be addressed at this stage of the case;

            b. issues involving the case schedule and potential amendments to the
               Court’s default scheduling order, including the date for the Markman
               Hearing;

            c. issues relating to claim construction, including whether a live tutorial would be
               of benefit to the Court;

            d. issues relating to discovery, including potential amendments to the Court’s
               default discovery limits or Protective Order; and,

            e. any other issues the parties believe would lead to the just, speedy and
               inexpensive determination of this action.

2.     (Not later than 7 days before the CMC). Plaintiff shall serve preliminary infringement
       contentions in the form of a chart setting forth where in the accused product(s) each element
       of the asserted claims(s) are found. Plaintiff shall also identify the priority date (i.c.
             Case 6:20-cv-00477-ADA Document 28 Filed 10/05/20 Page 2 of 10




           the earliest date of invention) for each asserted claim and produce: (1) all documents
           evidencing conception and reduction to practice for each claimed invention, and (2) a copy
           of the file history for each patent in suit.

3.         (Not later than 3 business days before the CMC). Lead counsel for each party shall meet and
           confer (either in person or by telephone), to discuss whether they believe the Court’s default
           Scheduling Order and default Discovery Limits are appropriate for this case, and any issues
           relating to the management of this case they intend to raise at the CMC.

4.         (Two weeks after the CMC). The Parties shall submit an agreed Scheduling Order. If the
           parties cannot agree, the parties shall submit a separate Joint Motion for entry of each Order
           briefly setting forth their respective positions on items where they cannot agree. Absent
           agreement of the parties, the Plaintiff shall be responsible for the timely submission of this
           and other Joint filings.

5.         (Two weeks after the CMC). Deadline for Motions to Transfer. The Court also adopts the
           following page limits and briefing schedule for Motions to Transfer:

           a. Opening – 15 pages

           b. Response – 15 pages, due 14 days after the Opening brief

           c. Reply – 5 pages, due 7 days after the Response brief

6.         (Seven weeks after the CMC). Defendant shall serve preliminary invalidity contentions in the
           form of (1) a chart setting forth where in the prior art references each element of the asserted
           claim(s) are found, (2) an identification of any limitations the Defendant contends are
           indefinite or lack written description under section 112, and (3) an identification of any
           claims the Defendant contends are directed to ineligible subject matter under section 101.
           Defendant shall also produce (1) all prior art referenced in the invalidity contentions, (2)
           technical documents, including software where applicable, sufficient to show the operation
           of the accused product(s), and (3) summary, annual sales information for the accused
           product(s) for the two years preceding the filing of the Complaint,1 unless the parties agree to
           some other timeframe.

                                                    DISCOVERY

Except with regard to venue, jurisdictional, and claim construction-related discovery, all other
discovery is stayed until after the Markman hearing. Notwithstanding this general stay of discovery,
the Court will permit limited discovery by agreement of the parties, or upon request, where
exceptional circumstances warrant. For example, if discovery outside the United States is
contemplated, the Court will be inclined to allow such discovery to commence before the Markman
hearing.

 1
     With regard to expired patents, the sales information shall be provided for the two years preceding expiration.
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With respect to venue and jurisdictional discovery, the Court generally grants leave for the parties to
conduct targeted discovery (including, but not limited to requests for production, interrogatories, and
depositions) with regard to motions to transfer venue or motions to dismiss based on lack of
jurisdiction. If the parties disagree as to what reasonable discovery limits are, the Court encourages
the parties to contact the Court to request a telephonic discovery hearing.
Following the Markman hearing, the following discovery limits will apply to this case. The Court
will consider reasonable requests to adjust these limits should circumstances warrant.
         1. Interrogatories: 30 per side2
         2. Requests for Admission: 45 per side
         3. Requests for Production: 75 per side
         4. Fact Depositions: 70 hours per side (for both party and non-party witnesses combined)
         5. Expert Depositions: 7 hours per report3

Electronically Stored Information. As a preliminary matter, the Court will not require general
search and production of email or other electronically stored information (ESI), absent a showing of
good cause. If a party believes targeted email/ESI discovery is necessary, it shall propose a procedure
identifying custodians and search terms it believes the opposing party should search. The opposing
party can oppose, or propose an alternate plan. If the parties cannot agree, they shall contact
chambers to schedule a call with the Court to discuss their respective positions.

                                           DISCOVERY DISPUTES

A party may not file a Motion to Compel discovery unless: (1) lead counsel have met and conferred
in good faith to try to resolve the dispute, and (2) the party has contacted the Court’s law clerk (with
opposing counsel) to arrange a telephone conference with the Court to summarize the dispute and the
parties respective positions. After hearing from the parties, the Court will determine if further
briefing is required.

                                            PROTECTIVE ORDER

Pending entry of the final Protective Order, the Court issues the following interim Protective Order
to govern the disclosure of confidential information in this matter:

              If any document or information produced in this matter is deemed confidential by the
              producing party and if the Court has not entered a protective order, until a protective
              order is issued by the Court, the document shall be marked “confidential” or with some

 2
   A “side” shall mean the plaintiff (or related plaintiffs suing together) on the one hand, and the defendant (or
 related defendants sued together) on the other hand. In the event that the Court consolidates related cases for
 pretrial purposes, with regard to calculating limits imposed by this Order, a “side” shall be interpreted as if the
 cases were proceeding individually. For example, in consolidated cases the plaintiff may serve up to 30
 interrogatories on each defendant, and each defendant may serve up to 30 interrogatories on the plaintiff.
 3
   For example, if a single technical expert submits reports on both infringement and invalidity, he or she may be
 deposed for up to 14 hours in total.
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       other confidential designation (such as “Confidential – Outside Attorneys Eyes
       Only”) by the disclosing party and disclosure of the confidential document or
       information shall be limited to each party’s outside attorney(s) of record and the
       employees of such outside attorney(s).

       If a party is not represented by an outside attorney, disclosure of the confidential
       document or information shall be limited to one designated “in house” attorney, whose
       identity and job functions shall be disclosed to the producing party 5 days prior to any
       such disclosure, in order to permit any motion for protective order or other relief
       regarding such disclosure. The person(s) to whom disclosure of a confidential
       document or information is made under this local rule shall keep it confidential and
       use it only for purposes of litigating the case.

                              CLAIM CONSTRUCTION ISSUES

Terms for Construction. Based on the Court’s experience, the Court believes that it should
have presumed limits on the number of claim terms to be construed. The “presumed limit” is
the maximum number of terms that the parties may request the Court to construe without
further leave of Court. If the Court grants leave for the additional terms to be construed,
depending on the complexity and number of terms, the Court may split the Markman hearing
into two hearings.

The presumed limits based on the number of patents-in-suit are as follows:

                     Limits for Number of Claim Terms to be Construed

 1-2 Patents                      3-5 Patents                       More than 5 Patents
 10 terms                         12 terms                          15 terms

When the parties submit their joint claim construction statement, in addition to the term and
the parties’ proposed constructions, the parties should indicate which party or side proposed
that term, or if that was a joint proposal.

Claim Construction Briefing. The Court will require simultaneous claim construction
briefing with the following default page limits; however, where exceptional circumstances
warrant, the Court will consider reasonable requests to adjust these limits. These page limits
shall also apply collectively for consolidated cases; however, the Court will consider
reasonable requests to adjust page limits in consolidated cases where circumstances warrant.
In addition, the Court is very familiar with the law of claim construction and encourages the
parties to forego lengthy recitations of the underlying legal authorities and instead focus on the
substantive issues unique to each case.

Unless otherwise agreed by the parties, all simultaneous filings will take place at 5:00 p.m. CT.
             Case 6:20-cv-00477-ADA Document 28 Filed 10/05/20 Page 5 of 10




                                 Page Limits for Markman Briefs

     Brief                  1-2 Patents                3-5 Patents                More than 5 Patents
     Opening                20 pages                   30 pages                   30 pages, plus 5
                                                                                  additional pages for
                                                                                  each patent over 5 up
                                                                                  to a maximum of 45
                                                                                  pages
     Response               20 pages                   30 pages                   30 pages, plus 5
                                                                                  additional pages for
                                                                                  each patent over 5 up
                                                                                  to a maximum of 45
                                                                                  pages
     Reply                  10 pages                   15 pages                   15 pages, plus 2
                                                                                  additional pages for
                                                                                  each patent over 5 up
                                                                                  to a maximum of 21
                                                                                  pages

 Conduct of the Markman Hearing.

 The Court generally sets aside one half day for the Markman hearing; however, the Court is
 open to reserving more or less time, depending on the complexity of the case and input from
 the parties. The Court requires submission of technology tutorials in advance of the Markman
 hearing when they may be of benefit. The parties may submit tutorials in electronic form not
 later than one week before the Markman hearing and the Court encourages the parties to aim
 for tutorials with voiceovers in the 15 minute range. If a party intends to present a live tutorial,
 the parties should contact the Court to set-up a Zoom or telephonic tutorial to occur at least a
 week before the Markman hearing. In general, tutorials should be: (1) directed to the
 underlying technology (rather than argument related to infringement or validity), and (2)
 limited to 15 minutes per side. For the Court’s convenience, the tutorial may be recorded, but
 will not be part of the record. Parties may not rely on or cite to the tutorial in other aspects of the
 litigation.

 The Court will consider the parties suggestions on the order of argument at the Markman
 hearing. However, if the parties do not suggest a different procedure, the Court will allow the
 Plaintiff to pick the first term and then alternate by term. As a general rule, if one side
 proposes “plain and ordinary meaning” as its construction or asserts that a term is indefinite,
 the other party shall go first.

                                          GENERALISSUES

1.     The Court does not have a limit on the number of motions for summary judgment (MSJs);
       however, absent leave of Court, the cumulative page limit for Opening Briefs for all MSJs
       is 40 pages per side.
        Case 6:20-cv-00477-ADA Document 28 Filed 10/05/20 Page 6 of 10




2.    There may be instances where the submission of substantive briefs via audio file will be of
      help to the Court. If a party is contemplating submitting a brief via audio file it should
      contact the Court for guidance on whether it would be helpful to the Court. However, the
      Court has determined that audio recordings of Markman briefs are of limited value and those
      need not be submitted. The recordings shall be made in a neutral fashion, shall be verbatim
      transcriptions without additional colloquy (except that citations and legal authority sections
      need not be included), and each such file shall be served on opposing counsel. The Court
      does not have a preference for the manner of recording and has found automated software
      recordings, as well as attorney recordings, to be more than satisfactory. Audio files shall be
      submitted via USB drive, Box (not another cloud storage), or email to the law clerk (with a
      cc to opposing counsel) and should be submitted in mp3 format.

3.    The Court will entertain reasonable requests to streamline the case schedule and
      discoveryand encourages the parties to contact the Court’s law clerk (with opposing counsel)
      toarrange a call with the Court when such interaction might help streamline the case.

4.    The Court is generally willing to extend the response to the Complaint up to 45 days ifagreed
      by the parties. However, longer extensions are disfavored and will require goodcause.

5.    For Markman briefs, summary judgment motions, and Daubert motions, each party
      shalldeliver to Chambers one (1) paper copy of its Opening, Response, and Reply Briefs,
      omittingattachments, no later than one week after the last-filed brief or at least a week before
      the hearing, whichever is earlier.

6.    Plaintiff must file a notice informing the Court when an IPR is filed, the expected time for an
      institution decision, and the expected time for a final written decision, within two weeks of
      the filing of the IPR.

7.    To the extent the parties need to email the Court, the parties should use the following
      emailaddress: TXWDml_LawClerks_JudgeAlbright@txwd.uscourts.gov.



ORDERED this 5th day of October, 2020.




                                                    ALAN D ALBRIGHT
                                                    UNITED STATES DISTRICT JUDGE
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                                     APPENDIX A – DEFAULT SCHEDULE

    Deadline                        Item
    7 days before CMC               Plaintiff serves preliminary4 infringement contentions in the
                                    form of a chart setting forth where in the accused product(s)
                                    each element of the asserted claim(s) are found. Plaintiff shall
                                    also identify the earliest priority date (i.e. the earliest date of
                                    invention) for each asserted claim and produce: (1) all
                                    documents evidencing conception and reduction to practice
                                    for each claimed invention, and (2) a copy of the file history
                                    for each patent in suit.
    2 weeks after CMC               Deadline for Motions to Transfer.
    7 weeks after CMC               Defendant serves preliminary invalidity contentions in the
                                    form of (1) a chart setting forth where in the prior art
                                    references each element of the asserted claim(s) are found, (2)
                                    an identification of any limitations the Defendant contends are
                                    indefinite or lack written description under section 112, and
                                    (3) an identification of any claims the Defendant contends are
                                    directed to ineligible subject matter under section 101.
                                    Defendant shall also produce (1) all prior art referenced in the
                                    invalidity contentions, (2) technical documents, including
                                    software where applicable, sufficient to show the operation of
                                    the accused product(s), and (3) summary, annual sales
                                    information for the accused product(s) for the two years
                                    preceding the filing of the Complaint, unless the parties agree
                                    to some other timeframe.
    9 weeks after CMC               Parties exchange claim terms for construction.
    11 weeks after CMC              Parties exchange proposed claim constructions.
    12 weeks after CMC              Parties disclose extrinsic evidence. The parties shall disclose
                                    any extrinsic evidence, including the identity of any expert
                                    witness they may rely upon with respect to claim construction
                                    or indefiniteness. With respect to any expert identified, the
                                    parties shall also provide a summary of the witness’s expected
                                    testimony including the opinions to be expressed and a
                                    general description of the basis and reasons therefor. A


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 The parties may amend preliminary infringement contentions and preliminary invalidity contentions without
leave of court so long as counsel certifies that it undertook reasonable efforts to prepare its preliminary
contentions and the amendment is based on material identified after those preliminary contentions were served,
and should do so seasonably upon identifying any such material. Any amendment to add patent claims requires
leave of court so that the Court can address any scheduling issues.


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                                     failure to summarize the potential expert testimony in a good
                                     faith, informative fashion may result in the exclusion of the
                                     proffered testimony. With respect to items of extrinsic
                                     evidence, the parties shall identify each such item by
                                     production number or produce a copy of any such item if not
                                     previously produced.
    13 weeks after CMC               Deadline to meet and confer to narrow terms in dispute and
                                     exchange revised list of terms/constructions.
    14 weeks after CMC               Parties file Opening claim construction briefs, including any
                                     arguments that any claim terms are indefinite.
    17 weeks after CMC               Parties file Responsive claim construction briefs.
    19 weeks after CMC               Parties file Reply claim construction briefs.
    20 weeks after CMC               Parties submit Joint Claim Construction Statement. In
                                     addition to filing, the parties shall jointly submit, via USB
                                     drive, Box (not another cloud storage),5 or email to the law
                                     clerk, pdf versions of all as-filed briefing and exhibits. Each
                                     party shall deliver to Chambers paper copies of its Opening,
                                     Response , and Reply Markman Briefs, omitting attachments.
                                     Absent agreement of the parties, the Plaintiff shall be
                                     responsible for the timely submission of this and other Joint
                                     filings.
    23 weeks after CMC (but          Parties submit optional technical tutorials. The parties shall
    at least 1 week before           also jointly submit, via USB drive, Box (not another cloud
    Markman hearing)                 storage), or email to the law clerk, pdf versions of all as-filed
                                     briefing and exhibits.
    24 weeks after CMC (or as        Markman Hearing at [9:00 a.m. or 1:00 p.m.]
    soon as practicable)
    1 business day after             Fact Discovery opens; deadline to serve Initial Disclosures per
    Markman hearing                  Rule 26(a).
    6 weeks after Markman            Deadline to add parties.
    hearing
    8 weeks after Markman            Deadline to serve Final Infringement and Invalidity
    hearing                          Contentions. After this date, leave of Court is required for
                                     any amendment to Infringement or Invalidity contentions.
                                     This deadline does not relieve the Parties of their obligation to

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 To the extent a party wishes to use cloud storage, the parties should contact the law clerk to request a Box link
so that the party can directly upload the file to the Court’s Box account.

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                          seasonably amend if new information is identified after initial
                          contentions.
 12 weeks after Markman   Deadline to amend pleadings. A motion is not required unless
 hearing                  the amendment adds patents or patent claims.
 26 weeks after Markman   Deadline for the first of two meet and confers to discuss
                          significantly narrowing the number of claims asserted and
                          prior art references at issue. Unless the parties agree to the
                          narrowing, they are ordered to contact the Court’s Law Clerk
                          to arrange a teleconference with the Court to resolve the
                          disputed issues.
 30 weeks after Markman   Close of Fact Discovery.
 hearing
 31 weeks after Markman   Opening Expert Reports.
 hearing
 35 weeks after Markman   Rebuttal Expert Reports.
 hearing
 38 weeks after Markman   Close of Expert Discovery.
 hearing
 39 weeks after Markman   Deadline for the second of two meet and confer to discuss
 hearing                  narrowing the number of claims asserted and prior art
                          references at issue to triable limits. To the extent it helps the
                          parties determine these limits, the parties are encouraged to
                          contact the Court’s Law Clerk for an estimate of the amount
                          of trial time anticipated per side. The parties shall file a Joint
                          Report within 5 business days regarding the results of the
                          meet and confer.
 40 weeks after Markman   Dispositive motion deadline and Daubert motion deadline.
 hearing
 42 weeks after Markman   Serve Pretrial Disclosures (jury instructions, exhibits lists,
 hearing                  witness lists, discovery and deposition designations).
 44 weeks after Markman   Serve objections to pretrial disclosures/rebuttal disclosures.
 hearing
 45 weeks after Markman   Serve objections to rebuttal disclosures and File Motions in
 hearing                  limine.

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    46 weeks after Markman           File Joint Pretrial Order and Pretrial Submissions (jury
    hearing                          instructions, exhibits lists, witness lists, discovery and
                                     deposition designations); file oppositions to motions in limine
    47 weeks after Markman           File Notice of Request for Daily Transcript or Real Time
    hearing                          Reporting. If a daily transcript or real time reporting of court
                                     proceedings is requested for trial, the party or parties making
                                     said request shall file a notice with the Court and e-mail the
                                     Court Reporter, Kristie Davis at kmdaviscsr@yahoo.com


                                     Deadline to meet and confer regarding remaining objections
                                     and disputes on motions in limine.
    3 business days before           File joint notice identifying remaining objections to pretrial
    Final Pretrial Conference.       disclosures and disputes on motions in limine.
    49 weeks after Markman           Final Pretrial Conference. The Court expects to set this date
    hearing (or as soon as           at the conclusion of the Markman Hearing.
    practicable)
    52 weeks after Markman           Jury Selection/Trial. The Court expects to set these dates at
    hearing (or as soon as           the conclusion of the Markman Hearing.
    practicable)6

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 If the actual trial date materially differs from the Court’s default schedule, the Court will consider reasonable
amendments to the case schedule post-Markman that are consistent with the Court’s default deadlines in light of
the actual trial date.


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